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                            EXHIBIT 1
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               Methodological Assessment of Hussain et al. 2021.1
               Expert Report of Thomas A. Trikalinos, M.D., Ph.D

   I.   QUALIFICATIONS
 I am a Professor of Health Services, Policy & Practice and Biostatistics and Director of the
 Center for Evidence Synthesis in Health at the Brown University School of Public Health in
 Providence, Rhode Island. At Brown, I am also the Director of the Brown Evidence-based
 Practice Center, one of nine such centers in North America designated by the Department of
 Health and Human Service’s Agency for Healthcare Research and Quality (AHRQ) to perform
 systematic review- and meta-analysis-based assessments of medical technologies. I earned my
 M.D. and Ph.D. in Epidemiology from the University of Ioannina in Greece. Before being
 appointed to the faculty at Brown, I held academic appointments at Tufts University and its
 Institute for Clinical Research and Health Policy Studies in the areas of medicine and clinical and
 translational science. I have also been a visiting Associate Professor in Computer Science at
 Tufts University and a visiting Scholar at the Center for Operations Research at the Sloan School
 of Business of the Massachusetts Institute of Technology.
 In addition to my academic appointment, I hold active memberships in several organizations
 focused on public health and statistics, including the Society for Medical Decision Making, the
 American Statistical Association, the Institute for Operations Research and Management
 Science, and the closed-membership Society for Research Synthesis Methodology. I also serve
 as an Editorial Advisor for the journal BMC Medical Research Methodology, and on the editorial
 board of Research Synthesis Methods, and previously served as the Secretary of the Society for
 Research Synthesis Methodology.
 I have developed and taught graduate-level university courses in basic and advanced meta-
 analysis, as well as short courses that I have taught at conferences, universities and federal
 agencies such as the Centers for Disease Control and Prevention and the Food and Drug
 Administration. I have over 200 publications in the medical, statistical and computer science
 literatures, which have received over 24,000 citations. Many of my publications are on methods
 and applications of basic and advanced meta-analysis. I have been invited to speak dozens of
 times regarding the proper methodologies for conducting medical and pharmaceutical studies
 and systematic reviews and meta-analyses thereof, including the kind of meta-analyses at issue
 here. I have developed methodological recommendations on the conduct of basic and
 advanced meta-analysis of treatments and tests and of decision and economic analyses. See,
 e.g., Fu R, Gartlehner G, Grant M, Shamliyan T, Sedrakyan A, Wilt TJ, Griffith L, Oremus M, Raina
 P, Ismaila A, Santaguida P, Lau J, Trikalinos TA. Conducting quantitative synthesis when
 comparing medical interventions: AHRQ and the Effective Health Care Program. J Clin
 Epidemiol. 2011; 64(11):1187-97, a publication of which I am senior author and which informed
 AHRQ’s methodological recommendations for meta-analysis.
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 Finally, I have extensive experience in creating software for semi-automating processes of
 evidence synthesis, including open-source and freely available software for basic and advanced
 meta-analysis in the health sciences (OpenMeta-Analyst) and in evolutionary biology and
 ecology (OpenMEE). I was also a consultant in the development of commercial software for
 meta-analysis, such as version 1 of Comprehensive Meta-Analysis (CMA), which is the software
 used by the Hussain Study (the authors used version 3). See, e.g., Wallace BC, Schmid CH, Lau J,
 Trikalinos TA. Meta-Analyst: software for meta-analysis of binary, continuous and diagnostic
 data. BMC Med Res Methodol. 2009 Dec 4; 9:80; and Wallace BC, Lajeunesse MJ, Dietz G,
 Dahabreh IJ, Trikalinos TA, Schmid CH, Gurevitch J. Open MEE: Intuitive, open-source software
 for meta-analysis in ecology and evolutionary biology. Methods in Ecology and Evolution. 2017
 Aug; 8(8):941-7.
 My current CV is attached as Exhibit A.

     II.    QUESTIONS ASKED
 I was asked by counsel to review and assess the soundness of the methodology and analysis of
 the meta-analysis contained in the article titled “Perineural Liposomal Bupivacaine is Not
 Superior to Nonliposomal Bupivacaine for Peripheral Neural Block Analgesia,”1 (the “Study” or
 “Hussain Study”), published in the February 2021 issue of Anesthesiology, the journal of the
 American Society of Anesthesiologists.

     III.   SUMMARY OF OPINIONS
        1. The Study suffers from significant methodological errors, including, but not limited to
           the following: The authors (1) engage in crude, cross-study pooling of respondents—
           which destroys randomization and creates non-comparable groups—rather than
           stratified pooling; (2) purport to compare divergent groups across trials, ignoring
           substantial clinical and methodological diversity among the trials and introducing
           confounding effects; (3) omit trial results that are favorable to liposomal bupivacaine;
           (4) improperly correct for “multiple tests”; (5) apply overly broad confidence intervals,
           which raises the threshold for acknowledging differences between the treatments under
           comparison; (6) fail to conduct or report adequate heterogeneity analyses; and (7)
           deviate from recommendations for reporting data, which reduces transparency and
           prevents full analysis and replication of their work.

        2. These errors may be a function of the authors’ inexperience with appropriate meta-
           analysis. However, certain of the design failings raise questions as to whether some or
           all of the problems may also be caused, in part, by the authors’ intent to reach a
           predetermined outcome.


 1
  Hussain N, Brull R, Sheehy B, et al. Perineural Liposomal Bupivacaine Is Not Superior to Nonliposomal Bupivacaine
 for Peripheral Nerve Block Analgesia. Anesthesiology. 2021; 134(2):147-164.
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    3. I endeavored to recreate the authors’ meta-analysis with respect to their primary
       outcome (differences in the “Area Under the Curve” [“AUC”] of pain scores between 24
       and 72 hours post-operatively), applying many of the same protocols, but correcting for
       some of their more significant errors. The AUC is explained more fully later on, but it is
       the author’s constructed metric to quantify patients’ overall pain experience.

           a. The re-analysis finds a mean difference in AUC between 24 and 72 hours post-
              operatively of 1.77 cm*days (95% Confidence Interval, 0.71 to 2.86), favoring
              liposomal bupivacaine over nonliposomal bupivacaine, but with substantial
              statistical heterogeneity. Thus, the re-analysis finds that pain experience on the
              AUC metric, between 24 and 72 hours post-operatively, were on average 1.77
              points better for patients receiving liposomal bupivacaine versus those who
              received other local anesthetics.

           b. Heterogeneity analyses suggest that the treatment effect of liposomal
              bupivacaine versus nonliposomal bupivacaine becomes 0.35 cm*day (95%
              Credible Interval: 0.02 to 0.61) larger for every 1 cm*day increase in the mean
              AUC in the controls (nonliposomal bupivacaine).

           c. In the subgroup of trials in which the mean AUC of the control group was at least
              8.6 cm*day (the mean value of the seven trials in my analysis), the AUC with
              liposomal bupivacaine was better by 2.85 cm*day (95% CI, 1.84 to 3.87) than
              that of nonliposomal bupivacaine. For trials where the mean AUC in the controls
              was less than 8.6 cm*day, the difference in the AUC was 0.49 cm*day (95% CI, -
              0.05 to 1.03) in favor of liposomal bupivacaine. This subgrouping appears to
              explain the between-studies statistical heterogeneity. In other words, when the
              control group (those not receiving liposomal bupivacaine) had low average pain
              scores, the benefit of liposomal bupivacaine was not as pronounced, but as the
              average pain scores increased, the difference with liposomal bupivacaine
              became greater. This may be because the control groups with lower pain scores
              either endured less painful surgeries, reducing the need for long acting
              anesthetic, or because the patients were receiving enough other “rescue”
              medication (e.g., opioids) to mask differences between liposomal bupivacaine
              and nonliposomal bupivacaine.

       From my re-analysis, I conclude that there is strong evidence that liposomal bupivacaine
       is more effective than nonliposomal bupivacaine in terms of the difference in AUC
       metric. The evidence also suggests that the treatment effect of liposomal bupivacaine is
       larger in trials with higher pain scores in the controls.
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     IV.   OVERVIEW OF META-ANALYSIS REVIEWS IN MEDICAL RESEARCH
 Randomized controlled trials are at the heart of modern medical research: Modern medicine
 is an empirical discipline. Key tools to generate knowledge about the effects (outcomes) of
 interventions2 are well-designed, -conducted, and -analyzed experiments referred to as
 randomized controlled trials. These experiments enroll persons (patients) with a particular
 condition and then divide them into two or more groups, with each group receiving an
 intervention. The patients are randomly assigned to their groups. Then the researchers follow
 up with patients and measure and compare patient outcomes.
 The term outcomes refers to measurements in or experiences of patients with each
 intervention. Examples of outcomes are the mean pain score at 24 hours post-operatively, or
 the proportion of patients who are pain free at the same time point. The intervention effect is
 the difference in outcomes between the intervention and its comparator, and it is essentially
 the result of the trial.
 The random assignment of patients to interventions ensures that, on average, the patients who
 receive each intervention are comparable with respect to observed and unobserved factors that
 can affect their outcomes. If the compared groups are balanced for all known and unknown
 effect modifiers and confounding factors, then differences in the outcomes can only be
 attributed to the different interventions.
 Two important observations follow:
       1. Not all randomized trials are well-designed, -conducted, and -analyzed, and
          methodological expertise is needed to assess potential problems with a specific trial.

       2. The patient groups that are compared in randomized trial should “go together” because,
          in principle, they are as similar as they can be. This is important for how to meta-analyze
          results from two or more randomized trials, as discussed below.

 Impetus for evidence synthesis: Currently, about 700,000 randomized trial reports exist in
 PubMed, an online repository of mostly peer-reviewed medical research papers, and it is
 estimated that about 100 trials are published every day. For a particular clinical question, such
 as the effects of peripheral nerve blocks with liposomal versus nonliposomal bupivacaine on
 post-operative pain, several randomized trials may exist. These are not carbon-copies of each
 other: They differ in the types of patients they enroll (e.g., types of surgeries), the exact
 comparators (e.g., dose for each drug, supplemental pain relief protocols), and outcomes they
 measure, and so on. However, it is possible that they can all inform the conceptual question of
 how the interventions compare in general. We often use the term clinical and methodological
 diversity to refer to differences in clinical, epidemiological, design, and other attributes of the

 2
  Interventions can include giving a drug, doing a surgery, administering a test, or more-complex patient
 management strategies, e.g., administering liposomal bupivacaine after surgery with a prespecified protocol for
 supplemental post-operative analgesia (pain relief) with other drugs on an as-needed-basis.
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 studies in an evidence synthesis. In practice, some degree of clinical and methodological
 diversity exists in every evidence synthesis.
 It is therefore important to synthesize all practically available evidence on the effects of
 interventions for the question at hand. This task is called evidence synthesis. A typical evidence
 synthesis involves a systematic review of the literature, which is a structured, protocol-driven
 approach to find all practically identifiable trials that address the question of interest, extract
 information from them, assess their methodological rigor, and synthesize their results. All
 systematic reviews should synthesize trial results qualitatively. In many systematic reviews, it is
 possible to perform meta-analyses, which are quantitative syntheses of the results of individual
 trials.
 What is a meta-analysis: A meta-analysis of randomized trials aims to characterize the
 distribution of the results of a set of trials. Otherwise put, a meta-analysis is a sort of averaging
 that has two primary goals: First, it can be used to estimate the mean of the studies’ results and
 the degree of difference between study results, among other things. We often use the term
 statistical heterogeneity to refer to the extent of differences in study results. Second, it can be
 used to explore whether any differences in study results are associated with differences in
 study characteristics (e.g., pain levels, type of surgery, drug dosage, methodological
 characteristics); i.e., whether clinical and methodological diversity of study characteristics
 manifests as statistical heterogeneity in studies’ results.
 Standards for performing meta-analyses: Because of the importance of evidence synthesis in
 developing clinical guidance, several national and international bodies have developed
 recommendations and standards for performing systematic reviews and meta-analyses. These
 include the AHRQ Evidence-based Practice Centers Methods Guide, the methodological
 recommendations of the Cochrane Collaboration, and the standards of the former Institute of
 Medicine of the National Academies of Sciences.3 All these recommendations are in essential
 agreement.
 The following are generally accepted principles of meta-analysis methodology:
 Meta-analysis estimates a weighted average of the studies’ results so that studies that are
 more precise receive larger weights compared to studies that are less precise. Specifically,
 studies receive weights that are between 0 and 1 (equivalently, 0% and 100%) and add up to 1
 (or 100%). In other words, each study’s weight is the proportional contribution of that study’s
 result to the meta-analysis average. The industry standard is to use weights that are inversely

 3
   These guides include, for example (non-exhaustive list): (i) a series of about a dozen papers starting with Slutsky J,
 Atkins D, Chang S, Sharp BA. AHRQ series paper 1: comparing medical interventions: AHRQ and the effective
 health-care program. Journal of Clinical Epidemiology. 2010 May 1; 63(5):481-3; (ii) Higgins JPT, Thomas J,
 Chandler J, Cumpston M, Li T, Page MJ, Welch VA (editors). Cochrane Handbook for Systematic Reviews of
 Interventions. 2d Edition. Chichester (UK): John Wiley & Sons, 2019; (iii) Morton S, Berg A, Levit L, Eden J, editors.
 Finding what works in health care: standards for systematic reviews. Institute of Medicine of the National
 Academies.
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 proportional to the variance of the result of each study.4 “Variance” is a technical term: It is a
 quantification of the statistical uncertainty that accompanies a study result. Using inverse-
 variance weights results in the statistically most-efficient averaging: The resulting meta-analysis
 mean will have the smallest variance compared to any other set of weights that are between 0
 and 1 and sum to 1. For example, inverse-variance weighting is more efficient than weighting
 proportionally to study sample size—sample-size weighting is not an industry standard. Using
 different weights can skew meta-analysis results.
 In practice, to do a proper meta-analysis one needs two so-called sufficient statistics from each
 trial: (i) an estimate of the mean intervention effect (e.g., as relevant here, a mean difference in
 pain scores between liposomal bupivacaine and nonliposomal bupivacaine) and (ii) the trial’s
 variance. Extracting this information from trial reports is sometimes easy (e.g., when it is
 directly reported), but other times it can be more involved. Of relevance to this report, if one is
 interested in an outcome that is not directly reported in a trial but is a function (“a
 composition”) of other outcomes that are reported in the trial, the mean and variance of this
 outcome may have to be estimated using standard, but somewhat advanced, techniques, such
 as the multivariate delta method. The multivariate delta method is a way to estimate the mean
 and variance of a “composite” outcome from the reported means and variances of its individual
 “components” and information on their correlations.
 The following are key observations:
     1. Patient groups are comparable within randomized trials but not across different trials. A
        meta-analysis should find an average for differences within each study between the
        intervention and its comparator in each trial. These within-study differences are
        obtained by comparing like-with-like patients. In other words a meta-analysis should
        average the results (intervention effects) of individual trials.

     2. It would be wrong to first aggregate outcomes per patient group (per intervention)
        across all studies and then take the difference of these aggregations. For example, it is
        wrong to average the pain scores for all patients who received a certain intervention in
        all studies, then average the pain scores of all patients who received a comparator
        intervention in all studies, and then take the difference between these aggregations.
        Such an approach is called “crude pooling” or “naïve pooling.” It ignores the fact that
        groups from the same randomized trial should “go together,” breaks randomization and
        loses all its benefits, and can yield nonsensical results. For example, a meta-analytic
        average should always fall between the minimum and the maximum results (treatment




 4
   This is referred to as inverse-variance weighting. Depending on the specifics of a problem, more-elaborate
 methods are used that follow the same philosophy and have statistical properties analogous to or better than
 inverse-variance weighting. Weighting by sample size does not have such statistical properties.
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          effects) of individual studies. With “crude pooling,” one can get answers that are smaller
          than the minimum or larger than the maximum of study results, which makes no sense.

 Finally, while patients are comparable within each randomized trial, they are not necessarily
 comparable across trials. This means that, while one can always meta-analyze a group of trials,
 the result may have limited or no clinical interpretation if the clinical and methodological
 differences between the trials (e.g., different surgeries, different doses, different interventions,
 etc.) are too great. In practice, whether or not a meta-analysis is meaningful for a particular
 purpose is a judgment call. The industry standard, however, is to perform heterogeneity
 analyses, which explore the impact of the different clinical and methodological study
 characteristics on the outcome of a meta-analysis and its conclusions. Examples of
 heterogeneity analyses are subgroup analyses, which compare results in subgroups of studies
 according to levels of the aforementioned factors, and meta-regression analyses, which
 perform analogous comparisons with a statistical (regression) model, possibly for more than
 one factor at a time. At a minimum, subgroup analyses are almost always possible.
 Reporting of meta-analyses: The standing recommendation for reporting of meta-analysis
 results is that it should be done in a way that allows the results’ replication by a third party.
 Detailed reporting recommendations exist for different types of meta-analyses. Generally, it is
 standard to report trial-specific numerical data and results in graphs, tables, or in online
 repositories such as the Systematic Review Data Repository.5

     V.   THE HUSSAIN STUDY IS REPLETE WITH NUMEROUS METHODOLOGICAL ERRORS
          THAT SKEW THE OUTCOME OF THE ANALYSIS
     A. About the Hussain Study
 The February 2021 issue of Anesthesiology published by the American Society of
 Anesthesiologists, included a meta-analysis titled “Perineural Liposomal Bupivacaine is Not
 Superior to Nonliposomal Bupivacaine for Peripheral Neural Block Analgesia” (the “Study” or
 “Hussain Study”). The meta-analysis was authored by Nasir Hussain, M.D., M.Sc., et al., and it
 purported to synthesize and evaluate randomized trials that compared liposomal bupivacaine
 to nonliposomal bupivacaine when used as a peripheral nerve block. Bupivacaine is an analgesic
 that can be injected directly into tissue to numb a specific area of the body, especially following
 surgery, or it can be used as a nerve-blocking agent to facilitate post-operative pain
 management. Liposomal bupivacaine is a modified form that uses a liposomal encapsulation to
 permit a slow-release of the bupivacaine to the injected site, with the intent of achieving pain
 relief for a more prolonged period than nonliposomal bupivacaine.
 The Hussain Study sought to conduct a meta-analysis of trials that compared a single injection
 of liposomal bupivacaine (optionally mixed with nonliposomal bupivacaine) to a single injection


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  Accessible at https://srdrplus.ahrq.gov. This federally funded repository is developed and maintained by the
 Center for Evidence Synthesis at Brown University, which I direct.
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 of nonliposomal bupivacaine in adult patients. It sought to assess differences in short-term pain
 among patients, as well as “long-term outcomes, including persistent postsurgical pain, opioid
 dependence, and health-related quality of life.”6 The authors identified the randomized trials
 for review by conducting a published-literature search and queries in registries including
 www.clinicaltrials.gov. Id. From that universe, the authors identified 470 citations. They then
 culled the list to exclude studies that did not satisfy the Study’s eligibility criteria, such as
 studies that did not use nonliposomal bupivacaine as a comparator, lacked available data, or
 were not randomized. Id. This resulted in a set of nine trials for review. Id.
 Among other outcomes, the Study purported to compare the overall pain experience between
 24 and 72 hours post-surgery of patients treated with liposomal bupivacaine versus those
 treated with nonliposomal bupivacaine by means of an “Area Under the Curve” (“AUC”) metric.
 More specifically, at any time, a patient’s pain can be measured with a Visual Analogue Scale
 (VAS) between 0 (no pain) to 10 (worst possible pain imaginable). In lay terms, the VAS is a
 scale that patients may be familiar with in which a healthcare provider asks a patient to rate
 their pain on a 0-10 scale. It is graphically depicted as follows:




 To summarize VAS measurements at 24, 48, and 72 hours post-operation, the authors chose to
 graph the average VAS scores at these three times and estimate the mean Area Under the
 [VAS] graph—which is the aforementioned AUC. In lay terms, the AUC aims to quantify an
 overall pain experience, on the basis of three pain VAS measurements, between 24 and 72
 hours post-operatively. As defined, the difference in the AUC should be measured in [VAS
 units]*[days] or [cm]*[days]—given that a common VAS uses 1 cm per each pain level.7 As
 defined in the Study, the AUC with a treatment can take values between 0 cm *day (when pain
 scores are 0 at 24, 48 and 72 hours post-operatively) and 20 cm*day (when pain scores are 10



 6
   In page 2 of Hussain N, Brull R, Sheehy B, et al. Perineural Liposomal Bupivacaine Is Not Superior to Nonliposomal
 Bupivacaine for Peripheral Nerve Block Analgesia. Anesthesiology. 2021; 134(2):147-164 [hereinafter, “Hussain
 Study”].
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   The Study mistakenly states that AUC results are reported in cm*hours—all their results for AUC analyses should
 be scaled by a factor of 24 if that were the case, because there are 24 hours in one day.
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 for all time points – i.e., for two days). Analogously, the difference in AUCs between two
 treatments can take values between -20 cm*day and 20 cm*day.
 Based on its examination of these nine trials, the Study concluded that liposomal bupivacaine
 “provides a statistically significant but clinically unimportant improvement” in the AUC score of
 “postoperative pain scores compared with nonliposomal bupivacaine.”8
        A. The Design and Analysis of the Hussain Study Are Deeply Flawed
 As discussed below, it is my opinion that the Hussain Study suffers from serious methodological
 and statistical failings. These errors, at minimum, suggest inexperience and a lack of familiarity
 with proper methods, but some evince an intent to reach a predetermined outcome that
 liposomal bupivacaine does not result in different outcomes from nonliposomal bupivacaine.
 These errors, when compounded, result in an outcome that is drastically skewed. When a
 proper meta-analysis is conducted, the resulting outcome is favorable to liposomal bupivacaine.
     1. The Hussain Study is Plagued with Multiple Methodological Flaws
 The Hussain Study suffers from a number of methodological flaws, at least two of which are
 particularly significant in how they deviate from established norms and in their potential to
 skew the outcome of the meta-analysis: The Study employs a method of crude pooling, rather
 than stratified pooling for the analysis of its primary outcome (the AUC), and it does not explore
 the substantial clinical and methodological heterogeneity (diversity) of the underlying studies.
 In addition to those flaws, I identify three others below, which comprise a non-exhaustive list of
 flaws I observed in my review of the Hussain Study and, when compounded, increase the risk of
 affecting the outcome of the review.
 First, the Study employs flawed “crude pooling” or “naïve pooling” rather than the
 methodologically correct and recommended “stratified pooling.” The correct approach involves
 two parts: (1) estimate the difference in outcome per study, and (2) synthesize (i.e., average)
 the study-specific differences. That is, a meta-analysis synthesizes the results of the underlying
 studies, i.e., the differences in AUC that each trial found. Within each randomized trial, these
 differences in AUC are not subject to systematic errors because the treatments are compared in
 similar patients.9 By contrast, the Hussain Study effectively (i) breaks up each trial into
 treatment and control groups and aggregates VAS scores separately for each timepoint (24, 48,
 or 72 hours post-op) and treatment (liposomal bupivacaine versus nonliposomal bupivacaine)
 as if they came from the same study. Then (ii) it calculates a “difference in AUC” based on these
 aggregations. By indiscriminately merging the treatment and control groups across different
 sets of trials for different timepoints, the Hussain Study approach creates non-comparable
 groups. This concept is called “crude pooling,” and it is a flawed approach that results in
 systematic errors and biased results.



 8
     Hussain Study at 11.
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     For well-designed and -conducted randomized trials.
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 To illustrate the effect of crude pooling, consider, for example, two hypothetical studies that
 compare the mortality rate of a blue pill to a red pill. In the first study, there are ten deaths out
 of 100 patients who receive the blue bill, and 100 deaths out of 1000 patients for the red pill.
 The death rate for each is 10%, or 0.1. In the second study, there are 50 deaths out of 100
 patients who receive the blue pill, compared to five deaths out of ten patients who receive the
 red pill. Again, the death rate for both is equal, this time at 50%, or 0.5. Both studies find no
 difference in the risk of death between the red and blue pills, and a meta-analysis of these
 studies should also find no difference between the two groups. Using a crude pooling method,
 the numbers of dead and alive patients are aggregated for each treatment across the two
 studies, resulting in a total of 60 out of 200 patient deaths with the blue pill (30%, or 0.3),
 versus 105 out of 1010 patients who receive the red pill (approximately 10%, or 0.1). The crude
 pooling method suggests that the blue pill caused death 30% of the time, compared to only
 10% for the red pill, indicating that the red pill is much safer, which is false. Crude pooling
 created two non-comparable groups: Almost all patients for the red pill come from the first
 study, in which patients experience a lower risk of death, but from the blue pill, half of the
 patients come from the lower risk study. The apparent difference in death rates between the
 red and blue pills with crude pooling is due to the different composition of the groups and not
 the differential effects of the pills on mortality.
 Fig. 1: Crude vs. Stratified Pooling Illustration

                   Deaths/Total,      % deaths,      Deaths/Total,    % deaths,           Risk
                     blue pill         blue pill        red pill       red pill       difference
     1                10/100              0.1         100/1000            0.1              0
     2                50/100              0.5            5/10             0.5              0
     Crude            60/200              0.3         105/1010            0.1             0.2
     Pooling


 More generally, crude pooling is problematic because it breaks up randomized trials into
 treatment and control groups that are then merged indiscriminately. This annuls the key
 advantage of randomized trials, which is that they compare like patients: Randomization, the
 process of randomly assigning patients to treatments, ensures that on average all known and
 unknown confounding factors are balanced between the compared groups so that the only
 factor that differs is the treatment given to each group. Thus, any differences in outcomes can
 be ascribed to the difference in treatments.
 Crude pooling is a fundamental mistake because it ignores stratification by study and destroys
 randomization. Methodological recommendations caution against it, and it is routinely used as
 an example of how not to do a meta-analysis during instruction of students and trainees. It is
 also highly unusual: I cannot remember a publication that used crude pooling for meta-analysis
 in the last 20 years.
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 Second, every meta-analysis presents an opportunity to explore whether the clinical and
 methodological diversity of the synthesized studies explain any differences in study results. This
 is because studies differ in their populations (e.g., types of patients, surgeries, peripheral nerve
 blocks), interventions and comparators/controls (e.g., whether patients were given liposomal
 bupivacaine only or mixed with nonliposomal bupivacaine; what doses were used; whether
 there were specified protocols for residual-pain management, and what these protocols were),
 outcome definitions (e.g., the exact instruments used for the pain assessment), and designs
 (e.g., what methods were used to guard against common threats to the validity of results
 including confounding, selection, and measurement biases; extent of missing information, and
 how missingness was handled). If these clinical and methodological differences are too
 extensive, the results of a meta-analysis would be meaningless, and the meta-analysis should
 not be performed. This is why the industry standard is to perform heterogeneity analyses, as
 discussed above.
 In the problem at hand, the included trials are very diverse, but the Study presents no results
 for heterogeneity analyses. For example, the severity and type of pain a patient experiences
 varies dramatically across different types of surgeries, and yet the Study puts together patients
 of vastly different surgeries, including “major shoulder surgery, rotator cuff surgery,
 arthroscopic shoulder surgery, hip arthroscopy, total knee arthroplasty, video-assisted
 thoracoscopic surgery, minimally invasive lung resection, inflatable penile prosthesis
 placement, and total mastectomy,” without showing whether and how results change for
 studies of different indications.10 The Study also ignores other significant differences, such as in
 the interventions, including but not limited to administered doses and their timing; types of
 pre-incisional, surgical, and supplemental post-operative analgesia; and whether liposomal
 bupivacaine was administered solo or in combination with nonliposomal bupivacaine. A meta-
 analysis—which, at its core, is an averaging mechanism—is very difficult to interpret when
 fundamental differences across studies modify or confound the treatment effect.
 Third, the Study reports that for mean AUC differences, “[t]he results of individual studies were
 weighted by their sample size.”11 The industry standard in meta-analysis is to weight study
 results proportionally to the inverse of their variance, not by sample size or any other metric.
 This is because inverse-variance synthesis is the most statistically efficient approach—it results
 in narrower confidence intervals for the meta-analysis mean compared to alternative meta-
 analysis weighting schemes. The default methods implemented in all widely used pieces of
 software, including those used by the Study authors, is an inverse-variance synthesis. However,
 this requires estimating the variance of the difference in AUC in each study, as mentioned
 earlier.
 Fourth, the Study ignores stochastic dependencies between successive measurements of pain
 levels in the same patients. In other words, the Study looks at reports of pain across all study

 10
      Hussain Study at 4.
 11
      Hussain Study at 3.
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 subjects at the 24-hour, 48-hour, and 72-hour post-operative periods as if they were
 independent, without consideration to the fact that patients’ pain scores at each interval are
 likely correlated, and thus the mean VAS scores across timepoints are also likely correlated. For
 example, if results are positively correlated, a patient who reports a high pain score at the 24
 hour mark is likely to also have high scores at 48 and 72 hours. Because between-outcome
 correlations are not reported by individual trials, the common practice would be to run a
 sensitivity analysis for various plausible correlations. Failing to account for correlations can
 change the variances, which can affect the weights in the meta-analysis and confidence
 intervals of the meta-analysis means.
 Fifth, when the standard deviation used in an underlying trial was not available, the Study
 authors attempt to impute it based on the median standard deviation observed in the other
 trials.12 This inherently introduces uncertainty and the risk of error. At minimum, the authors
 should have imputed a range or distribution of standard deviations and not relied on a single-
 value imputation. A range or distribution would help account for the fact that standard
 deviations can differ across trials.
 In short, two methodological errors in particular are significant mistakes and carry a material
 risk of inaccurately skewing the meta-analysis outcome. These failings, when coupled with
 three other flaws, only compound that risk.
     2. Many Choices Made by The Hussain Study Tend to Minimize the Difference Between
         Liposomal and Non-Liposomal Bupivacaine
 If one looks hard enough, one can likely find some inadvertent flaw in even high-quality meta-
 analyses. However, in addition to the deficiencies identified above, several additional
 methodological and analytic errors and choices in the Study all would skew in the direction of
 finding no difference between liposomal and nonliposomal bupivacaine, raising questions of
 whether the errors were, in fact, inadvertent.
 First, the authors omitted results from a trial by Paul Sethi et al., which favors liposomal
 bupivacaine with an AUC of 3.54 units*days, which indicates a mean improvement on the 0–10
 pain scale of 3.54 points between 24 and 72 hours post-operatively. The Study’s authors admit
 that Sethi et al. meets eligibility criteria and claim it was excluded because of a “lack of
 available data.” However, the Sethi trial and its data were reported in a 2019 peer-reviewed
 publication—well within the Hussain Study’s search timeframe.13 The authors appear to
 include information from the Xie study (reference 78), which reports VAS scores using a three
 dimensional plot, making it difficult to accurately extract differences in AUC without special




 12
   Hussain Study at 3.
 13
   Sethi PM, Brameier DT, Mandava NK, Miller SR. Liposomal bupivacaine reduces opiate consumption after rotator
 cuff repair in a randomized controlled trial. J Shoulder Elbow Surg. 2019 May; 28(5):819-827.
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 manipulation of the image to transform it to a typical graph.14 It is not clear how the Xie data
 were obtained or extracted.
 Second, for their secondary outcomes, the authors made the controversial and counter-to-
 recommendations choice to attempt to correct for “multiple tests” in the context of a meta-
 analysis. The idea is that when one compares two treatments with respect to many outcomes,
 one may find differences by chance where no genuine differences exist. This is called a “false
 positive finding.” To minimize the chance of “false positive findings” one can raise the bar for
 accepting that an observed difference is beyond what would be expected by chance; said
 another way, one can make more stringent the threshold for determining that two treatments
 are, in fact, different. One such correction for multiple tests is the Bonferroni–Holm correction,
 which the Study authors use. Standard meta-analysis guidance, including the methodological
 recommendations of the Cochrane Collaboration, which the authors report following, states
 that “[a]djustments for multiple tests are not routinely used in systematic reviews, and we do
 not recommend their use in general.”15 The reasons for recommending against comparisons for
 multiple tests are numerous and technical. An important but subtle explanation is that in meta-
 analysis, we are interested in estimating the magnitude of the mean difference in outcomes
 between two treatments (a task of inference) and not in a yes/no answer of whether the
 treatments are, in fact, different beyond a chance finding, irrespective of the magnitude of the
 difference (a task of testing). Inference and testing are distinct technical concepts. In other
 words, an author would likely use the Bonferroni–Holm correction in a meta-analysis if she was
 highly inexperienced in conducting such an analysis and unfamiliar with the guidance, or if she
 desired, from the outset, to reach a determination that there was not a difference between the
 two analgesics.
 Third, the Study opts to describe results of secondary outcomes using a 99% confidence
 interval, which is broader than a standard 95% confidence interval. One reason to use this
 wider confidence interval is to try to control for “false positive findings” by making it more
 difficult to claim that a difference between the treatments is beyond what is expected by
 chance. This is related to correcting for “multiple comparisons,” discussed above. This makes it
 less likely that the result will demonstrate a difference between liposomal bupivacaine and
 nonliposomal bupivacaine. However, as mentioned above, the typical and recommended
 approach in meta-analysis is to forgo efforts to control for “false positive findings” and instead
 focus on estimating the magnitude of treatment effects using standard 95% confidence
 intervals.

 14
    Such manipulations involve changing the projection angle of the three-dimensional image and removing the
 three-dimensional perspective. They require specialized image manipulation software or custom computer code
 and are pending for my re-analysis. The Hussain Study does not hint at undertaking such a specialized approach to
 digitize the Xie trial results and does not mention that they received the data from Xie in a personal
 communication.
 15
    Higgins JPT, Thomas J, Chandler J, Cumpston M, Li T, Page MJ, Welch VA (editors). Cochrane Handbook for
 Systematic Reviews of Interventions. 2nd Edition. Chichester (UK): John Wiley & Sons, 2019.
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 Last, the Study does not follow recommended practices for reporting the data and its analyses.
 This information is not only standard to include but necessary for the results to be reviewed,
 tested, and replicated. The Study lacks all trial-level numerical information for outcomes, as
 well as identification for which studies it was necessary to impute missing data. Further, the
 Study authors state that they contacted the authors of the underlying trials,16 but it does not
 describe or reproduce the information, if any, that was obtained in those private
 communications. Much of this information is typically included in Tables and Figures in the
 main text, especially for the main outcome analysis, in an appendix, or in online archival tools
 such as the Systematic Review Data Repository (https://srdrplus.ahrq.gov). This was not done
 here.
 For these reasons, it may be that the Study authors are inexperienced and unfamiliar with an
 appropriate meta-analysis, which could explain the methodological errors identified above.
 However, these additional design problems raise questions about whether the problems with
 the Study arise solely from inexperience or may also be driven by an intent to reach a
 predetermined outcome.
     3. Additional Errors Further Undermine Confidence in the Authors’ Familiarity with a Proper
         Meta-Analysis
 In addition to the failings noted above, several additional errors, although minor in comparison,
 cast doubt on the authors’ proficiency in statistical analysis and proper meta-analysis.
 First, the Study mistakenly refers to the AUC as the “receiver operating characteristics curve,”17
 but a “receiver operating characteristic curve” (ROC) is something different from their “Area
 Under the Curve” (AUC). ROCs concern only studies of diagnostic tests, which this is not.
 Second, the Study refers to a “Mantel–Haenszel random-effects model,”18 but no such thing
 exists. Mantel–Haenszel is a method, not a model, and it concerns fixed or equal effects, not
 random effects. A “model” is a specific technical term—a mathematical construct that
 describes how data are generated, which is distinct from a “method,” which is a procedure that
 does not make assumptions about how data are generated.
 Third, the Study contains nonsensical statements and claims. A layered example follows: The
 underlying studies reported data in two forms, namely continuous outcomes (e.g., a study that
 reports a mean pain score) and binary or categorical outcomes (e.g., the proportion of patients
 who are pain-free). A simple way to meta-analyze pain score information reported as
 continuous and binary in different studies is to (1) approximately transform, invoking
 assumptions that rarely hold, the binary outcome metrics (e.g., the “log odds ratio”) to
 continuous metrics (standardized mean differences), and (2) meta-analyze the continuous


 16
    Hussain Study at 3.
 17
    Hussain Study at 1.
 18
    Hussain Study at 3.
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 metrics across studies.19 However, the Hussain Study states that it used “the log (odds ratio)”
 for certain trials that reported continuous data.20 This is meaningless because a log odds ratio is
 defined only for binary and not for continuous data. Similarly, the Hussain Study also claims to
 have transformed the log odds ratios to standardized mean differences when studies reported
 “continuous data,” id., which also does not make sense.
 Fourth, the Study inconsistently describes its methodologies. For example, it states that it
 applied an inverse-variance meta-analysis for all continuous outcomes, but it did not do so with
 regard to the differences in AUC, which is a continuous outcome (the Study refers to weighting
 by sample size for analyses pertinent to the AUC outcome).21 As another example, the authors
 claim to perform random-effects meta-analyses for all outcomes, even though, again, for the
 AUC they use sample-size weights.
 Fifth, the Study misapplies and mischaracterizes the Egger test, a procedure that examines for
 the presence of systematic differences between more-precise studies and less-precise studies.
 Even though the Egger test is intended to find so-called “small-study effects” (which can arise
 due to treatment effect heterogeneity; differences in choices for power analyses in the
 individual studies; publication, selective reporting and other biases; or chance), the Study
 mischaracterizes it as a test for “publication bias” (the risk that a study is more likely to be
 published depending on its findings), when publication bias is only one of numerous situations
 that can result in a signal with the Egger test.22 Interpreting the Egger test results as only
 identifying publication bias can be considered a marker of superficial familiarity with the
 methodology. Further, the Study apparently misapplies the Egger test because it applies it
 whenever there were at least three studies available for an outcome. However, simulation
 analyses suggest that many more studies (at least 10 and possibly over 20 based on various
 methods studies) are needed for the test to work properly.
 Finally, the authors appear to conflate the concepts of Conflict Of Interest (COI) and [Risk of]
 Bias: The authors declare that “[i]ndustry-sponsored trials were a priori considered a potential
 source of bias,”23 and single out and emphasize the result of a sensitivity analysis that excludes
 an industry-funded trial. There is no empirical justification for assuming that industry-
 sponsored studies have a high risk of bias, as discussed in the Cochrane Handbook that the


 19
    More elaborate, and perhaps better, methods exist, including a multivariate meta-analysis of binary and
 continuous outcomes, but to the best of my knowledge, they are not included in the pieces of software cited by
 the Study and require substantial technical expertise.
 20
    Hussain Study at 3.
 21
    Hussain Study at 3.
 22
    Egger M, Davey Smith G, Schneider M, Minder C. Bias in meta-analysis detected by a simple, graphical test. BMJ.
 1997 Sep 13; 315(7109):629-34. doi: 10.1136/bmj.315.7109.629.
 23
    Hussain Study at 5 (excluding Vandepitte C, Kuroda M, Witvrouw R, Anne L, Bellemans J, Corten K, Vanelderen P,
 Mesotten D, Leunen I, Heylen M, Van Boxstael S, Golebiewski M, Van de Velde M, Knezevic NN, Hadzic A: Addition
 of liposome bupivacaine to bupivacaine HCl versus bupivacaine HCl alone for interscalene brachial plexus block in
 patients having major shoulder surgery. Reg Anesth Pain Med 2017; 42:334–41).
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 authors purport to follow.24 Such an assumption would conflate the concept of Conflict Of
 Interest (COI) with the concept of the [Risk of] Bias:
     1) COI means that there is a suspected or definite incentive for favoring one conclusion
        over the other, irrespective of whether the research is biased or not. The Institute of
        Medicine describes financial COI, e.g., for specialists who perform a profitable
        procedure, or the manufacturer of a technology, and a range of non-financial COI, e.g.,
        for researchers who have taken strong public positions on a topic, or journal editors
        who wish to publish results that challenge current practice or beliefs and spur scientific
        discussion. The COI may be associated with money, fame, or a zeal to support a belief.
        This is why the emphasis is on managing COI to minimize the likelihood that it results in
        a bias. It is good practice to do sensitivity analyses by subgrouping studies according to
        whether they have COI or not.

     2) By contrast, bias refers to systematic error, meaning that the result that the study found
        differs from what it would have found if it was designed, conducted, and analyzed in a
        correct (unbiased) fashion. Because it is often impossible to know for sure whether a
        study result is biased, we usually assess a study’s Risk of Bias. Assessing the Risk of Bias
        is a challenging and time-consuming exercise. It is recommended to be done with the
        aid of structured tools, such as the Cochrane Risk of Bias tool. These tools help
        systematic reviewers structure their assessments about whether a particular study
        result is at low, moderate, or high risk of bias.

 The Cochrane Risk of Bias tool, which the authors use, and similar tools by the Evidence-based
 Practice Centers Program of AHRQ do not automatically consider industry sponsorship an
 indication of a high risk of bias. There is wide agreement among methodologists on this note
 (see for example the editorial by Cochrane methodologist Jonathan Sterne “Why the Cochrane
 risk of bias tool should not include funding source as a standard item”25). Briefly, some
 empirical data suggest that there are differences in the magnitude of findings between
 industry-sponsored and non-industry sponsored trials,26 but, per the Cochrane Manual, at the
 same time, (i) the industry-sponsored trials tend to be better designed and reported27 and
 (ii) they may be done in selected populations or settings or versus inactive comparators. Studies
 performed in selected populations and settings or versus inactive comparators are not biased—


 24
    Boutron I, Page MJ, Higgins JPT, Altman DG, Lundh A, Hróbjartsson A. Chapter 7: Considering bias and conflicts of
 interest among the included studies. In: Higgins JPT, Thomas J, Chandler J, Cumpston M, Li T, Page MJ, Welch VA
 (editors). Cochrane Handbook for Systematic Reviews of Interventions version 6.2 (updated February 2021).
 Cochrane, 2021
 25
    Sterne JAC. Why the Cochrane risk of bias tool should not include funding source as a standard item. Cochrane
 Database of Systematic Reviews 2013; 12: ED000076.
 26
    Lundh A, Lexchin J, Mintzes B, Schroll JB, Bero L: Industry sponsorship and research outcome: Systematic review
 with meta-analysis. Intensive Care Med 2018; 44:1603–12.
 27
    For example, they are more likely to blind participants or researchers to which treatment was received.
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 whether or not to include them in a meta-analysis depends on the eligibility criteria of the
 meta-analysis and the questions it asks.
     B. The Culmination of Errors in the Hussain Study Skewed the Results—a Proper Meta-
         Analysis Results in a Positive Outcome for Liposomal Bupivacaine
 As explained above, due to clinical and methodological diversity of the underlying trials, the
 trials do not lend themselves to meta-analysis. However, because the Hussain Study attempts
 to conduct a meta-analysis, but its efforts are deeply flawed, I endeavored to recreate the
 meta-analysis using the correct meta-analytical methods. For the results listed in this section:
      1. I did not conduct my own literature searches and citation screening. I retrieved only trial
         reports for the trials identified by the Study authors.

      2. Because the Study did not report study-specific numbers for the difference in AUC, I
         extracted the pertinent information from the original sources.

              a. I used the same approaches described by the Study authors for imputing missing
                 means and standard deviations from other statistics (medians, interquartile
                 ranges). However, I have not yet performed any sensitivity analysis for the
                 imputed missing statistics.

              b. When needed, I extracted data from plots using a digitizing software.

      3. I used the multivariate delta method to estimate the mean difference in AUC and its
         variance within each trial, so as to do an appropriate meta-analysis. For the meta-
         analysis, I fit a random-effects model with restricted maximum likelihood.28

      4. Following the protocol of the Hussain Study, I excluded trials that did not report VAS
         scores at all three time points. These were Weksler et al., who did not report results for
         pain at 72 h, and Khandhar et al., who did not report results for pain at 24, 48, or 72
         hours. Thus, unless the Hussain Study authors have received the missing data through
         private communications, they should, per their protocol, have also excluded Weksler
         and Khandhar from the AUC analyses. Thus, I believe that I analyzed the same
         underlying articles as the Hussain Study, with, perhaps, two exceptions:

              a. I added data from the Sethi et al. trial, which was deemed eligible by the Hussain
                 Study. However, the Hussain Study did not find the paper that presented the
                 data.



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   For the purposes of this description, the approach I used weights trial results proportionally to the inverse of the
 variances. Fitting a random effects model with restricted maximum likelihood is a recommended approach for
 meta-analyses like the one at hand.
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           b. I did not include results from the Xie et al. report because it does not provide
              readily extractable data. The pertinent mean pain VAS data are given in a three-
              dimensional graph, which requires specialized image manipulation to extract
              them correctly. I have not yet performed this image manipulation.

    5. I did only basic heterogeneity and sensitivity analyses. Further such analyses may yield
       additional insights. I performed:

           a. A standard heterogeneity analysis that examines whether the magnitude of the
              difference in the AUC depends on the average level of pain experienced by the
              patients in a trial. This is a “control-response meta-regression” analysis. The idea
              is that the level of pain in the controls captures information about how painful
              the particular operation is, the patients’ pain tolerances, and how much the
              supplemental post-operative analgesia alleviated patients’ pain. This analysis can
              help detect whether the effect of liposomal bupivacaine vs. nonliposomal
              bupivacaine is bigger or smaller in patients experiencing different levels of pain.

           b. A standard leave-one-out sensitivity analysis and an analysis that assumes a
              range of correlations for pain scores between 24, 48, and 72 hours post-
              operatively. I present these sensitivity analyses briefly.

    6. I did not pursue more-elaborate analyses including but not limited to bivariate meta-
       analyses of mean pain VAS scores and the cumulative dose of oral morphine
       equivalents. Such analyses would help explore the impact on results of differences
       across trials in supplemental post-operative analgesia.

    7. I did not apply adjustments for multiple tests, i.e., I did not use 99% confidence intervals
       or a Bonferroni–Holm correction, because they are not recommended for meta-analysis.
       The Hussain Study also did not apply such corrections for differences in the AUC, but for
       different reasons (because it was their primary outcome).

    8. I have not yet checked or re-analyzed any of the secondary outcomes.

    9. I did not yet check or re-assess the Hussain Study’s Risk of Bias assessments for the
       included trials.

    10. Because this note abstracts technical work, I do not expand on technical details and do
        not provide data or computational code.

 Thus, there may be additional remarkable observations upon a more-thorough re-analysis of
 the Hussain Study.
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 My analysis of result from seven trials (authors Vandepitte, Sethi, Cios, Shariat, Badman,
 Purcell, Zhang29) estimates a meta-analysis mean for the difference in AUC of 1.77 cm*days
 (95% Confidence Interval [CI]: 0.71 to 2.83) favoring liposomal bupivacaine. This result is
 different than the estimate from the crude pooling analysis of the Hussein Study, which was 1.0
 cm*day (95% CI 0.5 to 1.6), also favoring liposomal bupivacaine.
 The Figure below is a meta-analysis forest plot. It depicts the results of the individual studies
 and the random-effects meta-analysis summary. The difference in the AUC of each study is
 shown by a black square (which denotes the point estimate) and a horizontal line (which
 denotes the 95% CI for the point estimate). The sizes of the black squares correspond to the
 proportional weight that trials received in the meta-analysis. For example, the AUC difference
 in Shariat has the largest variance (it has the widest 95% CI) and is the least precise; it received
 the smallest weight of 9.99% and is shown with the smallest square. Conversely, Zhang, has the
 smallest variance and receives the most weight of 18.63%. The dashed line at 0 is the line of no
 effect. The points plotted to the left of 0 correspond to negative numbers, which favor
 liposomal bupivacaine over nonliposomal bupivacaine.30

      Authors                                                                          Difference in AUC (95% CI)


      Vandepitte                                                                      11.40% −3.81 [−5.79, −1.82]
      Sethi                                                 ■                         15.49% −3.54 [−4.70, −2.38]
      Cios                                                      ■                     14.30% −1.95 [−3.35, −0.55]
      Shariat                                                                          9.99% −1.79 [−4.10, 0.51]
      Badman                                                         ■                15.12% −1.33 [−2.56, −0.09]
      Purcell                                                            ■            15.07% −0.50 [−1.75, 0.75]
      Zhang                                                                           18.63% −0.28 [−0.66, 0.09]


      RE Model (Q = 41.72, df = 6, p = 0.00; I2 = 82.8%)                             100.00% −1.77 [−2.83, −0.71]


                                            −8     −6      −4   −2           0   2
                                                     Difference in AUC


 Because of the substantial clinical and methodological diversity in the characteristics of these
 trials, a random-effects meta-analysis model is used. A random-effects model allows for
 between-studies variance in the true study-specific AUC differences, estimates its magnitude,

 29
    The publication by Zhang, in Chinese, and a machine translation were provided to me by counsel. I have not had
 the study report translated.
 30
    A larger AUC corresponds to worse pain scores between 24 and 72 hours post-operatively. The difference in the
 AUC in each trial is the AUC with liposomal bupivacaine minus the AUC with nonliposomal bupivacaine. A negative
 difference means that the AUC with liposomal bupivacaine is smaller than the AUC with nonliposomal bupivacaine,
 i.e., the liposomal bupivacaine does better.
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 and incorporates it in the calculations. In this case, the clinical and methodological diversity in
 the trials manifests as differences in the trials’ results. Some quantification is offered by the I2
 statistic that quantifies the extent of statistical heterogeneity. Here it is about 83%, which
 suggests that the results of the trials are diverse. The visual impression of the forest plot also
 conveys the same idea: Although the point estimates for the difference in AUC in all studies are
 in the direction that favors liposomal bupivacaine over nonliposomal bupivacaine, the
 magnitude of the difference varies across studies. Some studies show larger differences in favor
 of liposomal bupivacaine (e.g., Vandepitte and Sethi show point estimates better by 3.5
 cm*days) and some show smaller (e.g., Purcell, at about 0.50 cm*days and Zhang at about 0.28
 cm*days).
 The clinical and methodological diversity between the trials makes the summary meta-analysis
 result challenging to interpret for clinical practice: The meta-analysis mean difference in the
 AUC (1.77 [95%: CI 0.71 to 2.83]) is the average effect in the observed trials. But these trials
 enrolled very different patients, and thus the meta-analysis mean is not the effect expected in a
 new patient. We should strive to gain some understanding about how, and possibly why, the
 results differ across trials. This is the focus of the heterogeneity analyses below.
 Example heterogeneity analyses
 The goal of a heterogeneity analysis is to assess how treatment effects differ across trials, and if
 possible, propose explanations for any differences. I describe a basic heterogeneity analysis
 that seeks to answer the question: “Does the difference in the AUC in each trial depend on the
 amount of pain patients experience in each trial?” This analysis is a common starting point in
 most meta-analyses. The rationale is simple: Pain scores (which form the basis for the AUCs) are
 measured on a scale of 0–10. If a trial is done in patients who experience low pain scores (e.g.,
 because the surgery is not very painful or patients received effective post-operative analgesia),
 then there is little opportunity to see a difference between liposomal bupivacaine and
 nonliposomal bupivacaine. By contrast, in trials in which patients experience high pain scores
 and there is a genuine difference in pain scores between the interventions, there may be more
 opportunity to see that difference.
 The figure below shows the result of a control-response meta-regression analysis.31 The
 difference in the AUC in each trial is shown on the vertical axis. The mean AUC in the controls,
 which represents the pain levels experienced by patients in a trial, is shown on the horizontal

 31
    In this type of meta-regression, the response (treatment effect of difference in the AUC) is a function of the
 predictor (AUC in the nonliposomal bupivacaine controls) and response and predictor are naturally correlated
 across studies, which must be accounted for in a specialized analysis. I conducted the correct analysis in the
 Bayesian framework using standard numerical methods (Markov Chain Monte Carlo [MCMC]). I used three MCMC
 chains, with an adaptation of 5000 iterations and a burn-in of 10000 iterations. I used noninformative prior
 distributions for hyperparameters. Convergence was assessed visually and with the Brook-Gelman-Rubin
 diagnostic. Posterior inferences are based on 50000 samples from the joint posterior distribution and as described
 as medians and 95% highest posterior density Credible Intervals (95% CrI). The 95% Credible Intervals are the
 Bayesian analogue of the 95% Confidence Intervals.
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 axis. The black line that slopes downwards is the meta-regression evidence synthesis, and the
 dashed lines above and below it are the 95% Credible Intervals for the black line. Trials are
 shown as black circles with size proportional to the weight the trial receives in the meta-
 regression. The meta-regression analysis suggests that that for every 1 cm*day unit worsening
 in the AUC in the controls, the difference in the AUC becomes more favorable for liposomal
 bupivacaine by 0.35 cm*day (95% Credible Interval, 0.02, 0.61). Thus, it indicates that when
 patients are in more pain (e.g., because of more painful surgeries or less effective post-operative
 analgesia), the effect of liposomal bupivacaine becomes larger.
                                0




                                          Zhang                                                       ............
                                                                  Purcell
  Difference in AUC (cm*days)




                                                                                                                           ------------------------- .
                                −1




                                                       •
                                                    Badman
                                −2




                                                                                                                                        Shariat
                                                                                                                            Cios
                                     ----------- .. - - - - ......
                                                                      ........
                                −3




                                                                                                                      Sethi

                                                                                                                           •
                                −4




                                                                                                                     Vandepitte
                                −5




                                      4                       6                           8                          10                    12                      14

                                                                                 Mean AUC in controls (cm*days)

 I also conducted a subgroup analysis by looking at whether the AUC in the controls was above
 (Subgroup A) or below (Subgroup B) 8.6 cm*day, which is the arithmetic average of the AUCs
 with nonliposomal bupivacaine across trials. The result is shown below.
           Analysis                                               Number              Difference in AUC,                  P value for             Difference of
                                                                  of trials           random effects                      statistical             subgroup A vs B
                                                                                      meta-analysis mean                  heterogeneity           (95% CI)
                                                                                      (95% CI)                            (I2, %)
           Subgroup A: Mean AUC in the                            4                   -2.85 (-3.87, -1.84)                0.28 (25)               -2.33
           controls more than 8.6 cm*day                                                                                                          (-3.43, -1.22)
           Subgroup B: Mean AUC in the                            3                   -0.49 (-1.03, 0.05)                 0.20 (36)
           controls less than 8.6 cm*day
           All trials (no subgrouping)                            7                   -1.77 (-2.83, -0.71)                <0.001 (83)             Not applicable



 Note that this subgroup analysis, which separates the trials by the mean AUC in the controls,
 appears to explain the between-studies statistical heterogeneity. When all trials are considered
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 together, the between-studies heterogeneity is large (I2=83%); however, within each subgroup
 there is limited evidence for statistical heterogeneity (I2 values are well below 50% in both
 subgroups A and B). This subgrouping of the trials explains most of the observed statistical
 heterogeneity in the meta-analysis.
 Interpretation and a generated hypothesis: The meta-regression and subgroup analyses help
 formulate the clinically remarkable hypothesis that that the treatment effect of liposomal
 bupivacaine is larger among patients who are in more pain. Additional research is needed to
 confirm, but the analysis I have conducted to date, based on the trials identified by the Study
 authors, suggests this hypothesis to be true.
 Example sensitivity analyses
 I describe two sensitivity analyses. The first is a general sensitivity analysis that should be done
 in every meta-analysis to explore the dependence of the results on a single study. The second is
 important to assess the robustness of my re-analysis of the difference in the AUCs to values of
 the missing correlations for the pain scores at different time points.
 Leave-one-out sensitivity analysis: Some additional insight is afforded by a leave-one out
 sensitivity analysis, where one excludes one trial at a time to explore the dependence of the
 meta-analysis on individual trials’ results. This is a standard sensitivity analysis that is
 encouraged in all meta-analyses. The table below shows the results of the meta-analysis when
 dropping the trial in the first column.
  Excluding     Difference in AUC, random effects   P value for statistical
  this study:   meta-analysis mean (95% CI)         heterogeneity (I2, %)
  Vandepitte    -1.5 (-2.54, -0.45)                 <0.001 (82)
  Sethi         -1.38 (-2.34, -0.42)                0.002 (73)
  Cios          -1.76 (-3.00, -0.52)                <0.001 (86)
  Shariat       -1.78 (-2.97, -0.59)                <0.001 (86)
  Badman        -1.87 (-3.11, -0.62)                <0.001 (85)
  Purcell       -2.00 (-3.17, -0.83)                <0.001 (83)
  Zhang         -2.10 (-3.17, -1.03)                0.005 (68)
 This shows that the result is somewhat sensitive to which study is excluded. All analyses favor
 liposomal bupivacaine, with point estimates for the difference in AUC ranging between 1.38
 cm*day, when Sethi is excluded, and 2.10 cm*day, when Zhang is excluded.
 In general, the meta-analysis result remains statistically heterogeneous no matter which study
 is dropped in the sensitivity analysis. Regardless of the excluded study, the P values for
 heterogeneity remain less than 0.10 (the usual threshold for identifying statistical
 heterogeneity) and I2 values exceed 50%.
 Sensitivity analysis of the impact of pain score correlations across timepoints: The following is a
 form of sensitivity analysis one should do when some necessary information is not reported in
 the trials. I used the multivariate delta method to derive the difference in the AUC between
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 liposomal and nonliposomal bupivacaine in each study and its variance. The derivation requires
 the correlations between the mean pain scores at 24, 48, and 72 hours post-operatively in each
 treatment arm of each study. The main analysis, as well as the leave-one-out meta-analysis,
 assumed that the mean pain scores across the three time points are not correlated (have zero
 correlation). However, it is unclear how this assumption affects the results. To assess the
 impact of missing correlations, I specify a single parameter auto-correlation matrix for the
 mean pain scores of the form
        1 𝜌 𝜌
 𝐑 = 𝜌 1 𝜌 , where 𝜌 is assumed to take values between -0.75 ( a relatively large
       𝜌 𝜌 1
 negative value) and 0.75 (a relatively large positive value).32 A better range of 𝜌 can be
 informed empirically, e.g., by getting information from the authors of each study. The following
 graph shows the meta-analysis random-effects mean difference in the AUC for the 6 trials with
 analyzable data, assuming different values for the day-to-day correlation in pain scores. The
 black line is the meta-analysis point estimate, and the blue ribbon is the width of the meta-
 analysis 95% confidence interval. The results of the main analysis (-1.77 [95% CI, -2.83 to -0.71])
 are also depicted at correlation equals 0 (𝜌 = 0). This analysis suggests that the results of my
 main analyses would not change dramatically If I were to assume a different value for the
 correlation 𝜌. No such exploration is reported in the Hussain Study.




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   Other structures for the correlation matrix 𝐑 can be examined; e.g., a compound symmetry matrix or an
 unstructured matrix. A positive correlation in pain scores between two time points means that patients with higher
 scores at one time point will also tend to have higher scores at other time points. Negative correlations could also
 be observed— patients who have higher scores on one day could have lower scores on the next day, e.g., if the
 increased pain resulted in their getting supplemental medications to control their post-op pain and continued
 them on the next day.
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                                                                                                                          24


                                 0



                                                                            -0.71

                                −1
  Difference in AUC (cm days)




                                                                            -1.77

                                −2




                                −3
                                                                            -2.83




                                −4

                                     −0.8          −0.4               0.0            0.4              0.8
                                                             Correlation (per day)




 Conclusion
 Based on the above analyses:
                                 1. I conclude that the foundational errors in the Hussain Study resulted in an unsound and
                                    deeply flawed analysis for the primary outcome (AUC differences regarding pain scores
                                    between 24 and 72 hours post-operatively). The re-analysis for the difference in the
                                    AUC with liposomal bupivacaine versus nonliposomal bupivacaine gives discordant
                                    results from those reported in the Hussain Study. This is troubling, irrespective of the
                                    direction in which the results change.

                                 2. The re-analysis of seven trials with extractable data finds a mean difference in AUC
                                    between 24 and 72 hours post-operatively of 1.77 cm*days (95% CI, 0.71 to 2.83)
                                    favoring liposomal bupivacaine over nonliposomal bupivacaine (i.e., an average 1.77
                                    point improvement on the pain scale), but with substantial statistical heterogeneity.
                                    This magnitude is on the order of the Hussain Study’s threshold for clinical importance
                                    (which was set at 2.0 cm*days).

                                 3. Heterogeneity analyses suggest that the treatment effect of liposomal bupivacaine
                                    versus nonliposomal bupivacaine becomes 0.35 cm*day (95% CrI: 0.02 to 0.61) larger
                                    for every 1 cm*day increase in the mean AUC in the controls (nonliposomal
                                    bupivacaine).
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    4. In additional heterogeneity analyses, in the subgroup of trials where the control group
       patients had a mean AUC of at least 8.6 cm*day (the mean value of the seven trials in
       my analysis), the AUC with liposomal bupivacaine was better by 2.85 cm*day (95% CI,
       1.84 to 3.87) than that of nonliposomal bupivacaine. For trials where the mean AUC in
       the controls was less than 8.6 cm*day, the difference in the AUC was 0.49 cm*day (95%
       CI, -0.05 to 1.03) in favor of liposomal bupivacaine. This subgrouping appears to explain
       the between-studies statistical heterogeneity.

    5. Thus, I conclude that:

           a. There is strong evidence that liposomal bupivacaine is more effective than
              nonliposomal bupivacaine in terms of the AUC metric for pain between 24 and
              72 hours post-operatively.

           b. There is low to moderate strength of evidence that the treatment effect of
              liposomal bupivacaine is larger in studies with higher pain scores in the controls,
              as measured by higher AUCs with nonliposomal bupivacaine between 24 and 72
              hours. The strength of the evidence is moderate because the result is based on a
              meta-regression analysis.

           c. There is low strength of evidence that in trials with higher pain scores in the
              controls, the improvement in the AUC is clinically important using a threshold of
              2.0 cm*day. The strength of evidence is low because of imprecision and because
              the result is from a subgroup analysis.

           d. There is low strength of evidence that the level of pain experienced by patients
              in each trial explains the heterogeneity in trial results.

    6. Finally, the Hussain Study contains methodological errors and inaccuracies that cast
       doubt on the correctness, completeness, and rigor of other analyses therein, the
       accuracy of their reporting, and the fairness of their interpretation and contextualization
       for clinical practice. Thus, a careful and detailed re-analysis of the Hussain Study may
       uncover different or additional observations, which may further change conclusions.




 Date: ____April 8, 2021____
                                                  Thomas A. Trikalinos, M.D., Ph.D.
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                             EXHIBIT A
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                                                                              Center for Evidence Synthesis in Health
                                                                                                    Brown University

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                                                                                    B thomas_trikalinos@brown.edu



              Contents


              Personal Information
              Name, Position, Academic Departments
      Name Thomas A. Trikalinos.
    Position Professor
Departments Health Services, Policy & Practice (primary) and Biostatistics (secondary), Brown University School of
            Public Health
      Other Director, Center for Evidence Synthesis in Health [former Center for Evidence-based Medicine], Brown
            University School of Public Health
              Business Address
    Address 121 S Main St, Providence, RI 02912, USA

              Education
       2006 Ph.D. Epidemiology, University of Ioannina, Ioannina, Greece.
Ph.D. Thesis Diagnostic Procedures in Genetic Meta-analysis
       2002 MD, University of Ioannina, Ioannina, Greece.

              Appointments
              Academic Appointments
              I was elected at my first academic appointment as Assistant Professor of Medicine at Tufts University
              in 2002, right after completing medical school in Greece. I moved to the US from Greece in 2006, after
              finishing my PhD.
      2020– Professor of Biostatistics, School of Public Health, Brown University, Providence, RI 02912.
      2020– Professor of Health Services, Policy & Practice, School of Public Health, Brown University,
            Providence, RI 02912.
  2012–2020 Associate Professor of Health Services, Policy & Practice, School of Public Health, Brown
            University, Providence, RI 02912.
      2012– Adjunct Associate Professor of Medicine, School of Medicine, Tufts University, Boston, MA 02111.
      2012– Adjunct Associate Professor of Clinical and Translational Science, Clinical and Translational
            Science Institute, Tufts University, Boston, MA 02111.
   Fall 2016 Visiting scholar (on sabbatical from Brown U), Sloan School of Management and Operations
             Research Center, MIT, Cambridge, MA 02142.
  2012–2013 Visiting Associate Professor in Computer Science, School of Engineering, Tufts University, Med-
            ford, MA 02155.
  2002–2012 Assistant Professor of Medicine, School of Medicine, Tufts University, Boston, MA 02111.
  2006–2007 Postdoctoral Research Associate, Institute for Clinical Research and Health Policy Studies, Tufts
            Medical Center, Boston, MA 02111.


              Professional Appointments
                                                                                                         th
                                                      TA Trikalinos,
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      Brown
   University
       2012– Director, Center for Evidence Synthesis in Health (former Center for Evidence-based Medicine), School
             of Public Health, Brown University.
                Providence, RI 02912
Tufts Medical
      Center
   2007–2012 Special and Scientific Staff, Institute for Clinical Research and Health Policy Studies, Tufts Medical
             Center, Boston, MA 02111.
   2006–2007 Research Associate, Institute for Clinical Research and Health Policy Studies, Tufts Medical Center,
             Boston, MA 02111.
    ICRHPS [ICRHPS = Institute for Clinical Research and Health Policy Studies at Tufts Medical Center]
   2009–2012 Co-Director, Tufts Evidence-based Practice Center, Institute for Clinical Research and Health Policy
             Studies, Tufts Medical Center, Boston, MA 02111.
   2009–2012 Associate Director, Center for Clinical Evidence Synthesis, Institute for Clinical Research and Health
             Policy Studies, Tufts Medical Center, Boston, MA 02111.
   2008–2009 Associate Director, Tufts Evidence-based Practice Center, Institute for Clinical Research and Health
             Policy Studies, Tufts Medical Center, Boston, MA 02111.
   2007–2008 Assistant Director, Tufts Evidence-based Practice Center, Institute for Clinical Research and Health
             Policy Studies, Tufts Medical Center, Boston, MA 02111.


                Companies
   Mycenean A 501 (c) (3) non-profit company incorporated in Rhode Island. It serves as an impartial custodian of
            open source software for evidence synthesis, shares data, disseminates information, provides education,
            training and consulting services in Evidence Synthesis.
       2017– Chief Executive Officer.

                Honors & Awards
        1996 Competed for Greece in the 28th International Chemistry Olympiad in Moscow, Russia.
        1996 Third National Prize in the annual National Chemistry Competition (organized by the National Chemists’
             Society). Member of the National Chemistry Team of Greece for 1995–1996.
        1996 Second National Prize in the annual National Physics Competition (organized by the National Physicists’
             Society). Member of the National Physics Team of Greece for 1995–1996.

                Membership in Societies
                I list only active memberships. Refer to Service, Professional Societies for positions held.
                Groups with elected membership
                –Society for Research Synthesis Methodology (SRSM). SRSM has a cap of 85 active members.
                Groups with open membership
                –Society for Medical Decision Making (SMDM)
                –American Statistical Association (ASA)
                –The Institute for Operations Research and the Management Sciences (INFORMS)
  Leadership
   Positions
   2013–2016 Secretary, Society for Research Synthesis Methodology
        2013 Local Organizing CoChair (with CH Schmid & J Lau), 2013 annual meeting of the Society for
             Research Synthesis Methodology
 Other Roles


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        2014 Member, Senior Program Committee, AAAI Workshop on Modern Artificial Intelligence for Health
             Analytics. Association for the Advancement of Artificial Intelligence Conference, 27/07/2014, Quebec
             City, Canada.

                University Service
      Brown Standing Committees, Campus
   University
   2014–2016 Member, Research Advisory Board
   2013–2016 Member, Graduate Council
             Ad hoc Committees, Campus
        2012 Member, Search Committee for the Vice President for Research
             Ad hoc Committees, School of Public Health
   2013–2014 Member, Mentorship Committee
        2014 Chair, Search Committee for open rank position in Health Services, Policy & Practice (Research Track)
        2015 Member, Search Committee for open rank position in Biostatistics (Tenure Track)
        2015 Member, Promotion Committee for faculty in Epidemiology (Research Track)
        2015 Chair, Promotion Committee for faculty in Health Services, Policy & Practice (Research Track)
        2016 Chair, Search Committee for open rank position in Health Services, Policy & Practice (Research Track)
        2016 Member, Search Committee for open rank position in Health Services, Policy & Practice (Tenure Track)
        2016 Member, Diversity and Inclusion Plan for the School of Public Health; Professional Development and
             Programming Group
        2017 Member, Search Committee for open rank position in Health Services, Policy & Practice (Research
             Track)
        2017 Member, Committee for Appointment of an Adjunct Professor in Health Services, Policy & Practice
             (Research Track)
        Tufts
   University
   2011–2012 Chair, Scientific Affairs Committee, School of Medicine
   2008–2011 Member, Scientific Affairs Committee, School of Medicine
Tufts Medical
      Center
   2009–2012 Member, Executive Committee, Institute for Clinical Research and Health Policy Studies
   2008–2009 Member, Infrastructure Committee, Institute for Clinical Research and Health Policy Studies
University of
   Ioannina,
      Greece
        2015 International Member, Promotion Committee for a tenured Associate Professor Position in Epidemi-
             ology, Department of Hygiene and Epidemiology, School of Medicine
University of
     Applied
 Sciences of
   Thessaly,
      Greece
        2017 International Alternate Member, Committee for choosing tenure-track faculty (Assistant Professor
             rank) in Public Health with emphasis on vaccines, Department of Medical Laboratories, School of Medical
             Professions
University of
   Thessaly,
      Greece


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                                                     TA Trikalinos,
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       2015 International Alternate Member, Promotion Committee for a tenured Associate Professor Position
            in Bioinformatics and Biomathematics, Department of Bioinformatics and Biostatistics

               National or International Service
               Grant Application Review Boards
     Ad hoc In 2013: Patient Centered Outcomes Research Institute (PCORI): Applications for Clinical Data Research
    Member Networks and Patient-Powered Research Networks
     Ad hoc In 2017: National Institute for Allergies and Infectious Diseases (NIAID): ZAI1
    Member
     Ad hoc In 2019: National Institute of Neuroological Disorders and Stroke: NST2
    Member
               Editorial responsibilities
   Editorial Current: BMC Medical Research Methodology (editorial advisor), Research Synthesis Methods; Past:
     Board PLoS Currents – Evidence for Genomic Applications
   Member
               Journal Manuscript Reviewer
       Peer I regularly conduct peer review for many journals. The following is a non-exhaustive list: Proceedings of
   Reviewer the National Academies of Sciences, Journal of the American Medical Association, Statistics in Medicine,
            Annals of Internal Medicine, British Medical Journal, PLoS Medicine, Journal of the National Cancer
            Institute, Annals of Applied Statistics, Bioinformatics, Journal of Clinical Epidemiology, Trials, Medical
            Decision Making, BMC Medicine, BMC Medical Research Methodology, Cochrane Library of Systematic
            Reviews.
               National Panels & Workgroups
       2017 Member, National Science Foundation (NSF) Smart and Connected Health (SCH) Program Visioning
            Meeting, advising the NSF on the research funding priorities of next 5 years of the SCH Program
  2013–2015 Member, Technical Expert Panel, advising the US Preventive Services Task Force on methodology
               International Organizations
World Health
Organization
       2016 Co-Chair, Conference on using modeling to inform global guidelines. 27-29 April 2016.
  GAPPNet In 2009, I was a member of the Knowledge Synthesis Workgroup and of the Dissemination Workgroup,
          Genomic Applications in Practice and Prevention Networking (GAPPNet) Initiative. This initiative aims
          to accelerate and streamline effective and responsible use of validated and useful genomic knowledge
          and applications, such as genetic tests, technologies, and family history, into clinical and public health
          practice. It is supported by the Centers for Disease Control Public Health Genomics Office.




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         Publications
         According to Thompson ISI, as of March 9, 2020:
         –Over 11,000 citations.
         –h = 47, that is, 47 of my papers have received at least as many citations.
         –m = 2.6. The m index normalizes the h index by the years of one’s scientific production.
         –Self-citation rate is 166/11200 (1.5%). The h and m indices remain practically unchanged after excluding
          self-citations.

         According to Google Scholar, as of March 9, 2020:
         –Over 21,000 citations.
         –h = 63
         –m = 3.5


         Books & Monographs
         None


         Chapters in Books
      1. Trikalinos TA, Ioannidis JP (2005) Assessing the evolution of effect sizes over time. In Publication
         bias – Prevention, Assessment and Adjustments, Wiley, chapter 13.
      2. Wallace BC, Dahabreh IJ, Lau J, Schmid CH, Trikalinos TA (2014) Modernizing evidence synthesis
         for Evidence-based Medicine. In Clinical Decision Support, Elsevier, chapter 12.

      3. Neumann PJ, Sanders-Schmidler G, Basu A, Brock D, Feeny D, Krahn M, Kuntz KM, Meltzer DO,
         Owens DK, Prosser LA, Salomon JA, Sculpher MJ, Trikalinos TA, Siegel JE, Russell LB, Ganiats
         TG (2016) Recommendations on perspectives for the Reference Case. In Cost-Effectiveness in Health and
         Medicine, Oxford, chapter 3.
      4. Kuntz KM, Russell LB, Owens DK, Sanders-Schmidler GD, Trikalinos TA, Salomon JA (2016)
         Decision models in cost-effectiveness analysis. In Cost-Effectiveness in Health and Medicine, Oxford,
         chapter 5.
      5. Trikalinos TA, Russell LB, Sanders-Schmidler GD (2016) Evidence synthesis for informing cost-
         effectiveness analysis. In Cost-Effectiveness in Health and Medicine, Oxford, chapter 9.

      6. Salomon JA, Trikalinos TA, Sanders-Schmidler GD, Mandelblatt JS (2016) Identifying and quantifying
         the consequences of interventions. In Cost-Effectiveness in Health and Medicine, Oxford, chapter 6.
      7. Dahabreh IJ, Trikalinos TA, Kent DM, Schmid CH (2017) Heterogeneity of treatment effects in
         comparative effectiveness research. In Methods in Comparative Effectiveness Research, Chapman and
         Hall/CRC, chapter 8.

      8. Lau J, Morton SC, Schmid CH, Trikalinos TA (2017) Systematic reviews in comparative effectiveness
         research. In Methods in Comparative Effectiveness Research, Chapman and Hall/CRC, chapter 10.


         Refereed Journal Articles
      1. Adam GP, Balk EM, Jap J, Senturk B, Sanders-Schmidler G, Lallinger K, Butler M, Brasure M,
         Trikalinos TA (2019) AHRQ EPC Series on Improving Translation of Evidence: Web-Based Interactive
         Presentation of Systematic Review Reports. Jt Comm J Qual Patient Saf 45: 629–638.

      2. Rönn MM, Menzies NA, Gift TL, Chesson HW, Trikalinos TA, Bellerose M, Malyuta Y, Berruti
         A, Gaydos CA, Hsu KK, Salomon JA (2019) Potential for Point-of-Care Tests to Reduce Chlamydia-
         associated Burden in the United States: A Mathematical Modeling Analysis. Clin Infect Dis .


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                                                   TA Trikalinos,
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      3. Jones HE, Gatsonis CA, Trikalinos TA, Welton NJ, Ades AE (2019) Quantifying how diagnostic
         test accuracy depends on threshold in a meta-analysis. Stat Med 38: 4789–4803.
      4. Savitz DA, Wellenius GA, Trikalinos TA (2019) The problem with mechanistic risk of bias assessments
         in evidence synthesis of observational studies and a practical alternative: Assess the impact of specific
         sources of potential bias. Am J Epidemiol (Epub ahead of print).

      5. Bertsimas D, Dunn J, Steele DW, Trikalinos TA, Wang Y (2019) Comparison of machine learning
         optimal classification trees with the Pediatric Emergency Care Applied Research Network head trauma
         decision rules. JAMA Pediatr (Epub ahead of print).
      6. Soboczenski F, Trikalinos TA, Kuiper J, Bias RG, Wallace BC, Marshall IJ (2019) Machine learning
         to help researchers evaluate biases in clinical trials: a prospective, randomized user study. BMC Medical
         Informatics and Decision Making 19: 96.
      7. Balk EM, Adam GP, Corsi K, Mogul A, Trikalinos TA, Jeppson PC (2019) Adverse events associated
         with nonsurgical treatments for urinary incontinence in women: a systematic review. J Gen Intern Med
         (Epub ahead of print).

      8. Balk EM, Gazula A, Markozannes G, Kimmel HJ, Saldanha IJ, Trikalinos TA, Resnik LJ (2019)
         Psychometric properties of functional, ambulatory, and quality of life instruments in lower limb amputees:
         a systematic review. Arch Phys Med Rehabil (Epub ahead of print).
      9. Balk EM, Rofeberg VN, Adam GP, Kimmel HJ, Trikalinos TA, Jeppson PC (2019) Pharmacological
         and non-pharmacological treatments for urinary incontinence in women: A systematic review and network
         meta-analysis of clinical outcomes. Annals of Internal Medicine (Epub ahead of print).

     10. Zgodic A, Schmid CH, Olkin I, Trikalinos TA (2019) Different evidence-summaries have implications
         for contextualizing findings of meta-analysis of diagnostic tests. Journal of Clinical Epidemiology 109:
         51–61.
     11. Kim DD, Trikalinos TA, Wong JB (2019) Leveraging cumulative network meta-analysis and value
         of information analysis to understand the evolving value of medical research. Med Decis Making 39:
         119–129.
     12. Neumann PJ, Kim DD, Trikalinos TA, Sculpher MJ, Salomon JA, Prosser LA, Owens DK, Meltzer
         DO, Kuntz KM, Krahn M, Feeny D, Basu A, Russell LB, Siegel JE, Ganiats TG, Sanders GD (2018)
         Future directions for cost-effectiveness analyses in health and medicine. Med Decis Making 38: 767-777.

     13. Panagiotou OA, Markozannes G, Adam GP, Kowalski R, Gazula A, Di M, Bond DS, Ryder BA,
         Trikalinos TA (2018) Comparative Effectiveness and Safety of Bariatric Procedures in Medicare-Eligible
         Patients: A Systematic Review. JAMA Surg 153: e183326.
     14. Kimmel HJ, Brice YN, Trikalinos TA, Sarkar IN, Ranney ML (2019) Real-time emergency department
         electronic notifications regarding high-risk patients: A systematic review. Telemed J E Health 25: 604–618.

     15. Drucker AM, Adam GP, Rofeberg V, Gazula A, Smith B, Moustafa F, Weinstock MA, Trikalinos
         TA (2018) Treatments of primary basal cell carcinoma of the skin: A systematic review and network
         meta-analysis. Ann Intern Med 169: 456-466.
     16. Adam GP, Springs S, Trikalinos TA, Williams JW, Eaton JL, Von Isenburg M, Gierisch JM,
         Wilson LM, Robinson KA, Viswanathan M, Middleton JC, Forman-Hoffman VL, Berliner E, Kaplan
         RM (2018) Does information from ClinicalTrials.gov increase transparency and reduce bias? Results from
         a five-report case series. Syst Rev 7: 59.
     17. Adam GP, Di M, Cu-Uvin S, Halladay C, Smith BT, Iyer S, Trikalinos TA (2018) Strategies for
         improving the lives of US women aged 40 and above living with HIV/AIDS: An evidence map. Syst Rev
         7: 25.

     18. Bertsimas D, Silberholz JM, Trikalinos TA (2018) Optimal healthcare decision making under multiple
         mathematical models: Application in prostate cancer screening. Health Care Manag Sci 21: 105–118.


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                                                   TA Trikalinos,
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     19. Tasillo A, Salomon JA, Trikalinos TA, Horsburgh CR, Marks SM, Linas BP (2017) Cost-effectiveness
         of testing and treatment for latent tuberculosis infection in residents born outside the United States with
         and without medical comorbidities in a simulation model. JAMA Intern Med 177: 1755–1764.
     20. Steele DW, Adam GP, Di M, Halladay CH, Balk EM, Trikalinos TA (2017) Effectiveness of
         tympanostomy tubes for otitis media: a meta-analysis. Pediatrics 139.

     21. Steele DW, Adam GP, Di M, Halladay CW, Balk EM, Trikalinos TA (2017) Prevention and
         treatment of tympanostomy tube otorrhea: a meta-analysis. Pediatrics 139.
     22. Ellis AG, Trikalinos TA, Wessler BS, Wong JB, Dahabreh IJ (2018) Propensity score-based methods
         in comparative effectiveness research on coronary artery disease. Am J Epidemiol 187: 1064–1078.

     23. Mortensen ML, Adam GP, Trikalinos TA, Kraska T, Wallace BC (2017) An exploration of
         crowdsourcing citation screening for systematic reviews. Res Synth Methods 8: 366–386.
     24. Dahabreh IJ, Trikalinos TA, Lau J, Schmid CH (2017) Univariate and bivariate likelihood-based
         meta-analysis methods performed comparably when marginal sensitivity and specificity were the targets
         of inference. J Clin Epidemiol 83: 8–17.

     25. Dahabreh IJ, Wong JB, Trikalinos TA (2017) Validation and calibration of structural models that
         combine information from multiple sources. Expert Rev Pharmacoecon Outcomes Res 17: 27–37.
     26. Kapoor A, Ellis A, Shaffer N, Gurwitz J, Chandramohan A, Saulino J, Ishak A, Okubanjo T,
         Michota F, Hylek E, Trikalinos TA (2017) Comparative effectiveness of venous thromboembolism
         prophylaxis options for the patient undergoing total hip and knee replacement: a network meta-analysis.
         J Thromb Haemost 15: 284–294.
     27. Dahabreh IJ, Trikalinos TA, Balk EM, Wong JB (2016) Recommendations for the conduct and
         reporting of modeling and simulation studies in health technology assessment. Ann Intern Med 165:
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         referees, contrary to just 2 − 4 for Journal publications), and are also subjected to open public review.
         These products carry substantial weight. They are often commissioned to inform national committees and
         healthcare coverage decisions.
         Some of my Journal publications are based on work performed in herein listed reports; any such papers
         are listed in the Refereed Journal Articles section. These are not duplicate publications, and are not
         considered as such neither by AHRQ nor by the respective journal editors.
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         Refereed Contributions in Computer Science
         In computer science, peer-reviewed Conferences rather than Journals are the most prestigious venue of
         academic communication. Acceptance to a conference is on the basis of a full 6 to 12-page paper, which is
         reviewed by 2 − 4 referees. Conferences such as ICML [?] and KDD [?] are among the most prestigious
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         Refereed Contributions in Ecology and Evolutionary Biology
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         OpenMEE: Intuitive, open-source software for meta-analysis in ecology and evolutionary biology. Methods
         in Ecology and Evolution 8: 941–947.


         Editorials, Commentaries & Non-refereed Journal Articles
         Some of the herein listed commentaries have been peer reviewed ( see [?, ?, ?, ?]).
      1. Leslie LK, Alexander ME, Trikalinos TA, Cohen JT, Parsons SK, Newburger JW (2008) Reexamining
         the emperor’s new clothes: ambiguities in current cardiac screening recommendations for youth with
         attention deficit hyperactivity disorder. Circ Cardiovasc Qual Outcomes 1: 134–137.
      2. Kent DM, Trikalinos TA (2009) Therapeutic innovations, diminishing returns, and control rate
         preservation. JAMA 302: 2254–2256.


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         of Nature. Epidemiology 26: 710–713.

      5. Cambra K, Trikalinos TA, O’Gara-Kurtis E (2013) The Sum is Greater than its Parts: The Center
         for Evidence-Based Medicine. R I Med J (2013) 96: 25–26.
      6. Rao M, Peter I, Trikalinos TA (2010) A lesson from the Zuni Indians: heritability in perspective. Am
         J Kidney Dis 56: 251–254.

      7. Trikalinos TA (2010) Nomogram can help estimate risk of serious hyperbilirubinemia in healthy infants.
         J Pediatr 156: 508–509.
      8. Kent DM, Trikalinos TA, Hill MD (2009) Are unadjusted analyses of clinical trials inappropriately
         biased toward the null? Stroke 40: 672–673.


         Correspondence
      9. Drucker AM, Adam GP, Rofeberg V, Gazula A, Smith B, Moustafa F, Weinstock MA, Trikalinos
         TA (2019) Treatments for primary squamous cell carcinoma and squamous cell carcinoma in situ of the
         skin: a systematic review and network meta-analysis Summary of an Agency for Healthcare Research and
         Quality Comparative Effectiveness Review. J Am Acad Dermatol (Epub ahead of print).
     10. Dahabreh IJ, Kitsios GD, Trikalinos TA, Kent DM (2011) The complexity of ABO in coronary heart
         disease. Lancet 377: 1493–1494.

     11. Trikalinos NA, Trikalinos TA (2009) Inconsistencies in a study of rifampicin-miconazole-impregnated
         catheters versus standard catheters. Clin Infect Dis 48: 841–842.
     12. Kent DM, Trikalinos TA, Thaler DE (2008) Patent foramen ovale and cryptogenic stroke. N Engl J
         Med 358: 1519–1520.

     13. Trikalinos TA, Panidou ET, Ioannidis JP (2005) Reply to Badri et al. on ‘Limited benefit of
         antiretroviral resistance testing in treatment-experienced patients: a meta-analysis’. AIDS 19: 1336–1337.
     14. Trikalinos TA, Karassa FB, Ioannidis JP (2001) Meta-analysis of the association between low-affinity
         Fcgamma receptor gene polymorphisms and hematologic and autoimmune disease. Blood 98: 1634–1635.


         Invited Talks

         International
         Non-exhaustive list
      1. Trikalinos TA Decision making with comparative modeling: Application in prostate cancer screening.
         International Society for Clinical Biostatistics Annual Meeting, Birmingham, UK 8/23/2016.
      2. Trikalinos TA Decision making under alternative interpretations of the evidence. Application in prostate
         cancer screening. Grand Rounds, Toronto Health Technology Assessement Group, University of Toronto,
         Canada 3/18/2016.
      3. Trikalinos TA A Primer on the Meta-analysis of Medical Test Accuracy. Department for Evidence-based
         Medicine and Clinical Epidemiology, Danube University Krems, Austria 12/18/2014.
      4. Trikalinos TA Multidimensional scaling and combinatorial methods for meta-analysis. University of
         Ottawa, Ottawa, Ontario, Canada 12/05/2011.


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      5. Trikalinos TA Modernizing the systematic review pipeline. University of Ottawa, Ottawa, Ontario,
         Canada 12/06/2011.
      6. Trikalinos TA Genetic meta-analysis. 3rd course in Statistical Genetic Analysis of Complex Phenotypes,
         Bertinoro di Romagna, Italy 06/24-27/2007.
      7. Trikalinos TA Investigating sufficiency of evidence using recursive cumulative meta-analysis. Confer-
         ence on Sources of Heterogeneity in Meta-analysis of Randomized Clinical Trials, Bremen, Germany
         02/10/2007.


         National
         Non-exhaustive list
      8. Trikalinos TA Semiautomation of literature identification for systematic reviews. Evidence-based
         Practice Centers Methods Webinar 2/11/2020.
      9. Trikalinos TA Emulation of computationally expensive mathematical models. Institute for Technology
         Assessment, Massachusetts General Hospital, Boston, MA 11/7/2019.
     10. Trikalinos TA Evidence synthesis for decision making. Global Clinical Scholars Research Training
         Program, Harvard University, Cambridge, MA 11/7/2019.
     11. Trikalinos TA Introduction to evidence based medicine. Global Clinical Scholars Research Training
         Program, Harvard University, Cambridge, MA 6/1/2019.
     12. Trikalinos TA, Panagiotou O Health outcomes after bariatric surgical therapies in the medicare
         population: A technology assessment. Centers for Medicare and Medicaid Services Coverage Advisory
         Committee Meeting, Baltimore, MD 08/15/2017.
     13. Trikalinos TA Introduction to evidence based medicine. Global Clinical Scholars Research Training
         Program, Harvard University, Cambridge, MA 6/6/2017.
     14. Trikalinos TA Evidence synthesis for decision and policy making. Plenary session, Mini-Symposium
         in Health, Center for Information and Systems Engineering, College of Engineering, Boston University,
         Boston, MA 04/07/2017.
     15. Trikalinos TA Evaluation of diagnostics and introduction to medical decision making. Grand Rounds,
         Department of Emergency Medicine, Rhode Island Hospital, Providence, RI 02/08/2017.
     16. Trikalinos TA A gentle primer in network meta-analysis for dermatologists. Department of Dermatology,
         Rhode Island Hospital, Providence, RI 10/20/2016.
     17. Trikalinos TA A robust approach to designing cancer screening strategies. Data Science Initiative,
         Brown University, Providence, RI 10/07/2016.
     18. Trikalinos TA Designing personalized optimal screening strategies via mathematical optimization.
         Cancer Intervention and Surveillance Modeling Network semiannual meeting, Baltimore, MD 10/28/2016.
     19. Trikalinos TA Introduction to evidence based medicine. Global Clinical Scholars Research Training
         Program, Harvard University, Cambridge, MA 6/3/2016.
     20. Trikalinos TA Robust optimization approaches to designing optimal screening strategies. Cancer
         Intervention and Surveillance Modeling Network semiannual meeting, Boston, US 5/11/2016.
     21. Trikalinos TA Evidence synthesis for diagnostic tests with imperfect reference stadards and ordered
         performance. Prevention Modeling Lab, TH Chan Harvard School of Public Health, Boston, US 5/6/2016.
     22. Trikalinos TA A gentle primer in network meta-analysis for pediatricians. Grand Rounds, Department
         of Pediatrics, Rhode Island Hospital, Providence, RI 4/8/2016.
     23. Trikalinos TA Evidence synthesis for informing public health decision making. Centers for Disease
         Control and Prevention, Atlanta, GA 8/19/2015.


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     24. Trikalinos TA An overview of evidence-based methods for assessing comparative effectiveness and safety
         of interventions. Department of Obstetrics and Gynecology, Women and Infants Hospital, Providence, RI
         1/21/2015.
     25. Trikalinos TA Introduction to evidence based medicine. Global Clinical Scholars Research Training
         Program, Harvard University, Cambridge, MA 6/3/2015.

     26. Trikalinos TA Dietary supplements: Is there a recommended approach for evaluating the evidence?
         American Society of Nutrition, Santa Monica, CA 12/4/2015.
     27. Trikalinos TA Modernizing evidence synthesis for comparative effectiveness research. Brown Pulmonary
         Research Conference, Rhode Island Hospital 4/15/2015.

     28. Trikalinos TA Modernizing Technology Assessments in Healthcare. Meaningful Use of Complex Medical
         Data (MUCMD) Meeting, The Saban Research Institute, Children’s Hospital of Los Angeles 09/08/2014.
     29. Trikalinos TA Optimizing healthcare decisions with Evidence-based Medicine. Rhode Island Innovation
         Showcase, Brown University Technology Ventures office 05/06/2014.
     30. Trikalinos TA Some introduction to CEBM at Brown U, and to network meta-analysis. Department of
         Psychiatry and Human Behavior, Brown University 01/27/2014.
     31. Trikalinos TA Decision support tools (decision aids) for early cancer treatment and screening decisions.
         Process of Care Research Branch, National Cancer Institute 01/27/2014.
     32. Trikalinos TA The problem of capturing and reusing previous effort in technology assessment in
         healthcare. Department of Computer Science, Brown University 11/13/2013.
     33. Trikalinos TA Intro to meta-analysis of complex data – Bayesian network meta-analysis for unordered
         categorical outcomes with incomplete data. Biostatistics Branch, National Cancer Institute 11/06/2013.
     34. Trikalinos TA Evidence-based Medicine, the Clinical Data Deluge, and Machine Learning. Industrial
         Partners Program (IPP) Symposium on Putting Big Data to Work, Brown University 04/25/2013.

     35. Trikalinos TA Bayesian network meta-analysis for unordered categorical outcomes with incomplete
         data. 11th American Statistical Association Connecticut Chapter Mini-Conference 03/27/2013.
     36. Trikalinos TA An overview of methods for evaluating the comparative effectiveness and safety of
         interventions. Department of Obstetrics and Gynecology, Brown University (Women and Infants Hospital)
         01/09/2013.

     37. Trikalinos TA Do this, not that. Saving money by following medical evidence. The Paul Levinger
         Professorship Pro Tem Lecture in the Economics of Healthcare, Warren Alpert School of Medicine, Brown
         University 10/25/2012.
     38. Trikalinos TA Making sense of data on multiple treatments: A gentle introduction to network meta-
         analysis. Brown University Center for Alcohol and Addiction Studies Rounds 11/02/2012.
     39. Trikalinos TA Machine learning and multidimensional visualization applications in Comparative Effec-
         tiveness Research. Annual Data and Value Strategy Meeting, Center for Evaluation of Value and Risk in
         Health, Boston, MA 24/04/2012.
     40. Trikalinos TA Modernizing knowledge synthesis and integration for comparative effectiveness. Annual
         Data and Value Strategy Meeting, Center for Evaluation of Value and Risk in Health, Boston, MA
         14/04/2011.
     41. Trikalinos TA Can pharmacogenetics deliver on personalized healthcare? Lessons learned. ACRT/SCTS
         Joint Annual Meeting, Clinical and Translational Research and Education Meeting , Washington DC
         04/2011.

     42. Trikalinos TA Meta-analysis of diagnostic tests. FDA Public Workshop ‘Study Methodology for
         Diagnostics in the Post-Market Setting’ 05/12/2010.


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     43. Trikalinos TA Network meta-analysis methods – software. Johns Hopkins University, Baltimore, MD
         05/19/2010.
     44. Trikalinos TA Network meta-analysis methods – presentation of data. Johns Hopkins University,
         Baltimore, MD 05/20/2010.
     45. Trikalinos TA Systematic reviews on selected pharmacogenetic tests for cancer treatment: CYP2D6 for
         tamoxifen in breast cancer; KRAS for anti-EGFR antibodies in colorectal cancer; BCR-ABL1 for tyrosine
         kinase inhibitors in CML. Centers for Medicare and Medicaid Services Coverage Advisory Committee
         Meeting, Baltimore, MD 01/27/2010.
     46. Trikalinos TA Exploring and explaining between-study heterogeneity in meta-analysis. Academy Health
         Annual Research Meeting, Boston, MA 06/27/2010.

     47. Trikalinos TA Empirical insights from genetic meta-analysis: Challenges, biases, and unique consid-
         erations. SAMSI (Statistical and Applied Mathematical Sciences Institute) Summer 2008 Program on
         Meta-analysis: Synthesis and Appraisal of Multiple Sources of Empirical Evidence 06/05/2008.
     48. Trikalinos TA Obstructive sleep apnea: Modeling different diagnostic strategies. Centers for Medicare
         and Medicaid Services (CMS) Evidence Forum, Baltimore, MD 08/01/2007.
     49. Trikalinos TA Home diagnosis of obstructive sleep apnea-hypopnea syndrome. Centers for Medicare
         and Medicaid Services (CMS) Evidence Forum, Baltimore, MD 01/03/2007.
     50. Trikalinos TA Pulmonary rehabilitation for chronic obstructive pulmonary disease. Centers for Medicare
         and Medicaid Services (CMS) Evidence Forum, Baltimore, MD 12/06/2006.

     51. Trikalinos TA Hereditary nonpolyposis colorectal cancer: Accuracy of diagnostic strategies and impli-
         cations to patients with colorectal cancer and their families. Centers for Disease Control, Atlanta, GA
         09/01/2006.
     52. Trikalinos TA Methodological challenges in large scale genomics. 26th European Workshop for Rheuma-
         tology Research, EWRR, Crete, Greece 02/24/2006.

     53. Trikalinos TA Secrets and pitfalls of meta-analysis. Greek Society of Applied Medical Education,
         Athens, Greece 10/2005.
     54. Trikalinos TA Primer on randomized clinical trials. Orthopaedic Sports Medicine Center of Ioannina,
         Ioannina, Greece 07/2004.

     55. Trikalinos TA Temporal evolution of effect sizes in mental health interventions. Psychiatric Clinic,
         University Hospital, Ioannina, Greece 07/2003.
     56. Trikalinos TA Assessing oxidative stress intensity in biological fluids. Oxidative DNA damage and
         isoprostanoid formation. Round Table, 2nd Hellenic conference of free radicals and oxidative stress,
         Thessaloniki, Greece 10/2000.


         Other Exhibitions and Performances
         Selected Conference Abstracts - Presented by TA Trikalinos
         Non-exhaustive list
     57. Trikalinos TA, Wallace BC, Jap J, Senturk B, Adam GP, Smith B, Schmid CH, Balk EM,
         Forbes SP (10/21/2019) Large scale empirical evaluation of machine learning for semi-automating citation
         screening in systematic reviews. In: 41st Society for Medical Decision Making Annual Meeting, Portland,
         OR, US. p. Oral Presentation.
     58. Trikalinos TA, Ellis AG, Iskandar R, Wong JB, Schmid CH (9/23/2019) Active learning designs for
         emulators of computationally expensive mathematical models in health. In: 14th Annual Meeting of the
         Society for Research Synthesis Methodology, Chicago, IL, US. p. Oral Presentation.


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     59. Trikalinos TA, Silberholz JM, Bertsimas D (01/11/2018) Optimal healthcare decision making under
         multiple mathematical models - Application in prostate cancer screening. In: 12th International Conference
         for Health Policy Statistics, Charleston, SC, US. p. Oral Presentation.
     60. Trikalinos TA, Forbes SP, Willis B, Iskandar R (10/22-25/2017) On a more honest propagation of
         uncertainty in stochastic mathematical models. In: 39th Society for Medical Decision Making Annual
         Meeting, Pittsburgh, PA, US. p. Oral Presentation [top rated].
     61. Neumann PJ, Sanders-Schmidler G, Basu A, Brock D, Feeny D, Krahn M, Kuntz KM, Meltzer
         DO, Owens DK, Prosser LA, Salomon JA, Sculpher MJ, Trikalinos TA, Siegel JE, Russell LB,
         Ganiats TG The 2nd panel’s recommendations on evidence synthesis for innforming cost-effectiveness
         analysis. In: 38th Annual Meeting of the Society for Medical Decision Making, Vancouver, Canada.
         volume 10/24/2016.
     62. Trikalinos TA, Cheng WC, Schmid CH, Gatsonis C Network meta-analysis of diagnostic tests. In:
         2016 Eastern Nother American Region (ENAR) Spring meeting, Austin, TX. volume 05/08/2016.
     63. Trikalinos TA (11/2015) On estimating optimization model parameters in Public Health and Medicine.
         In: Institute for Operations Research and the Management Sciences, Philadelphia, PA, US. p. Oral
         Presentation.
     64. Trikalinos TA, Cheng W, Gatsonis C, Schmid CH (10/2015) Network meta-analysis of diagnostic
         accuracy studies. In: International Conference on Health Policy Statistics, Providence, RI, US. p. Poster
         Presentation.
     65. Trikalinos TA, Olkin I (10/2014) A new bivariate beta distribution constructed from the Dirichlet
         distribution. In: Annual Society for Medical Decision Making Meeting 2014, Miami, FL, US. p. Oral
         Presentation.
     66. Trikalinos TA, Olkin I, Schmid CH (8/2014) From meta-analysis to decisionmaking: The case of
         incomplete polytomous outcome data. In: Joint Statistical Meetings 2014, Boston, MA, US. p. Oral
         Presentation.

     67. Trikalinos TA, Jansen JP (8/2014) Multivariate network meta-analysis of progression-free survival and
         overall survival. In: Joint Statistical Meetings 2014, Boston, MA, US. p. Oral Presentation.
     68. Trikalinos TA, Hoaglin DC, Small KM, Terrin N, Schmid CH (10/2013) Methods for the joint
         meta-analysis of multiple tests. In: 35th Annual Meeting of the Society for Medical Decision Making,
         Baltimore, MD, US. p. Oral Presentation.

     69. Trikalinos TA, Hoaglin DC, Schmid CH (09/2013) Empirical comparison of univariate and multivariate
         meta-analysis for categorical outcomes. In: 21st Cochrane Colloquium, Quebec City, Quebec, Canada. p.
         Oral Presentation.
     70. Wallace BC, Small KM, Schmid CH, Lau J, Brodley C, Trikalinos TA (07/2011) Semi-automating
         citation screening for facilitating updating of systematic reviews. In: 6th Annual Meeting of the Society
         for Research Synthesis Methodology, Ottawa, Ontario, Canada. p. Oral Presentation.
     71. Trikalinos TA, Dahabreh IJ, Wallace BC, Schmid CH, Lau J (07/2011) Framework for transparent
         guidance on methodology. In: 6th Annual Meeting of the Society for Research Synthesis Methodology,
         Ottawa, Ontario, Canada. p. Oral Presentation.

     72. Trikalinos TA, Rebbapragada U, Wallace BC, Schmid CH, Lau J, Brodley C (07/2009) Automated
         detection of misclassifications during screening of abstracts for systematic reviews. In: 4th Annual Meeting
         of the Society for Research Synthesis Methodology, Seattle, WA. p. Oral Presentation.
     73. Wallace BC, Trikalinos TA (10/2009) Semiautomating citation screening for systematic reviews. In:
         Genetic Applications in Practice and Prevention Network Initiative Meeting, Ann Arbor, MI. p. Poster
         Presentation.




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     74. Trikalinos TA, Chung M, Raman G, Lau J, Schmid CH (01/17/2008) Data extraction errors in meta-
         analyses of diagnostic tests. In: 7th International Conference on Health Policy Statistics, Philadelphia,
         PA. p. Oral Presentation.
     75. Trikalinos TA, Chung M, Raman G, Lau J, Schmid CH (07/22/2008) Data extraction errors
         in meta-analyses of diagnostic tests. In: 3rd Annual Meeting of the Society for Research Synthesis
         Methodology, Corfu, Greece. p. Oral Presentation.
     76. Trikalinos TA, Olkin I (07/2007) Fixed effects meta-analysis for mutually exclusive categorical outcomes.
         In: 2nd Annual Meeting of the Society for Research Synthesis Methodology, Evanston, IL. p. Oral
         Presentation.
     77. Trikalinos TA, Ntzani E, Ioannidis JP, Contopoulos-Ioannidis DG (10/2-6/2004) Early evidence from
         meta-analyses of genetic risk factors is unreliable. In: 12th Cochrane Colloquium, Ottawa, Canada. p.
         Oral Presentation 82.
     78. Trikalinos TA, Churcill R, Ferri M, Leucht S, Tuunainen A, Wahbeck K, Ioannidis JP (10/26-
         31/2003) Evolving effect sizes over time in meta-analyses of randomized trials: An empirical assessment
         of mental health interventions. In: 11th Cochrane Colloquium, Barcelona, Spain. p. Oral Presentation.


          Chairmanships in Conferences
          Non-exhaustive list, maintained from 2017 onwards
     79. Trikalinos TA Chair in session: Network meta-analysis. 2017 Joint Statistical Meetings, Baltimore, MD
         08/01/2017.
     80. Trikalinos TA Meeting co-chair. WHO Meeting on the use of mathematical modeling to inform global
         recommendations 04/27-29/2016.
     81. Trikalinos TA Prioritization workshop lead facilitator: Prioritization of research needs for women who
         are older than 40 years and live with HIV. Office for Women’s Health, NIH 05/10/2016.


          Selected Conference Abstracts - Presented by Coauthors
          Presentation [?] received an award for best Podium presentation.
          Non-exhaustive list
     82. Forbes SP, Iskandar R, Trikalinos TA (10/20-23/2019) Deciding how to decide: Evaluating choice
         functions for test-and-treat decision analyses with partially-identified expected utility. In: 41st Society
         for Medical Decision Making Annual Meeting, Portland, OR, US. p. Poster Presentation.
     83. Ellis AG, Iskandar R, Schmid CH, Wong JB, Trikalinos TA (10/14-17/2018) An efficient sequential
         algorithm for training emulators to a target level of accuracy. In: 40th Society for Medical Decision
         Making Annual Meeting, Montreal, Canada. p. Poster Presentation.
     84. Danilack V, Kimmel H, Phipps M, Trikalinos TA (10/14-17/2018) A network meta-analysis of labor
         induction interventions to inform a decision analysis. In: 40th Society for Medical Decision Making
         Annual Meeting, Montreal, Canada. p. Oral Presentation.
     85. Forbes SB, Trikalinos TA (10/14-17/2018) Bounding the implications of non-compliance in randomized
         trials of orthopedic surgery. In: 40th Society for Medical Decision Making Annual Meeting, Montreal,
         Canada. p. Poster Presentation [Winner of the SG Pauker Award in Quantitiative Methods and Theoretical
         Developments].
     86. Pinto D, Trikalinos TA (10/14-17/2018) Synthesis of evidence on multicomponent interventions: Models
         and application to perioperative total joint arthroplasty rehabilitation strategies. In: 40th Society for
         Medical Decision Making Annual Meeting, Montreal, Canada. p. Poster Presentation.
     87. Iskandar R, Alarid-Escudero F, Trikalinos TA (10/22-25/2017) On simulating multivariate distributions
         with arbitrary marginal distributions and dependence structures. In: 39th Society for Medical Decision
         Making Annual Meeting, Pittsburgh, PA, US. p. Oral Presentation.


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     88. Kim D, Trikalinos TA, Wong JB (10/23/2017) Cumulative network meta-analysis and research
         prioritization: Evolution of treatment effects for stable coronary artery disease. In: 39th Society for
         Medical Decision Making Annual Meeting, Pittsburgh, PA, US. p. Oral Presentation [top rated].
     89. Ellis AG, Iskandar R, Trikalinos TA (10/22-25/2017) An active learning algorithm for efficiently
         developing meta-models, with an application in prostate cancer screening. In: 39th Society for Medical
         Decision Making Annual Meeting, Pittsburgh, PA, US. p. Poster Presentation [Lee Lusted Award winner].
     90. Forbes SP, Iskandar R, Trikalinos TA (10/22-25/2017) Bounding the implications of partial identifia-
         bility in decision analysis. In: 39th Society for Medical Decision Making Annual Meeting, Pittsburgh, PA,
         US. p. Poster Presentation [Lee Lusted Award finalist].
     91. Adam GP, Springs SL, Trikalinos TA, Williams JW, Eaton J, Von Isenburg M, Gierisch JM,
         Wilson LM, Sharma R, Dy SM, Waldfogel JM, Robinson KA, Viswanathan M, Cook-Middleton
         J, Forman-Hoffman VL, Berliner E, Kaplan RM Augmenting systematic reviews with information
         from clinicaltrials.gov to increase transparency and reduce bias. In: Peer Review Congress, Chicago, IL.
         volume 9/10/2017, p. Oral Presentation.
     92. Alarid-Escudero F, Jalal H, Trikalinos TA Opportunity cost of non-rigorous or non-transferable
         research: Implications for economic evaluation. In: 6th Latin American Conference of the International
         Society of Pharmacoeconomics and Outcomes Research, Sao Paulo, Brazil. volume 9/16/2017, p. Poster
         Presentation.
     93. Iskandar R, Trikalinos TA Simulating multivariate distributions with arbitrary marginal distributions
         and dependence structures. In: 22nd Annual Meeting of the International Society for Pharmacoecomonics
         and Outcomes Research, Boston, MA. volume 05/20-24/2017, p. Poster Presentation.
     94. Ellis AG, Iskandar R, Schmid CH, Wong JB, Trikalinos TA An active learning algorithm for efficient
         development of emulators of complex model, with an application in prostate cancer screening. In: 22nd
         Annual Meeting of the International Society for Pharmacoecomonics and Outcomes Research, Boston,
         MA. volume 05/20-24/2017, p. Poster Presentation.
     95. Forbes SP, Di M, Salomon JA, Linas BP, Trikalinos TA Evidence synthesis for diagnostic tests
         with partially ordered performance and no reference test. In: 22nd Annual Meeting of the International
         Society for Pharmacoecomonics and Outcomes Research, Boston, MA. volume 05/20-24/2017, p. Poster
         Presentation.
     96. Drucker A, Adam GP, Langberg V, Gazula A, Smith B, Moustafa F, Weinstock MW, Trikalinos
         TA Treatments for primary basal and squamous cell carcinoma of the skin: A systematic review and
         network meta-analysis. In: 76th Annual Meeting of the Society for Investigative Dermatology, Portland,
         OR. volume 04/26-29/2017, p. Oral Presentation.
     97. Alarid-Escudero F, Jalal H, Trikalinos TA On the opportunity cost of non-rigorous or non-transferable
         research: Implications for economic evaluation. In: 38th Annual Meeting of the Society for Medical
         Decision Making, Vancouver, Canada. volume 10/24/2016, p. Oral Presentation.
     98. Forbes SP, Di M, Salomon JA, Linas BP, Trikalinos TA Evidence synthesis for diagnostic tests with
         partially ordered performance and no reference standard. In: 38th Annual Meeting of the Society for
         Medical Decision Making, Vancouver, Canada. volume 10/24/2016, p. Poster Presentation [Lee Lusted
         Award winner].
     99. Linas BP, Tasillo A, Menzies N, Horsburgh RC, Marks SM, Trikalinos TA, Salomon JA (5/2016)
         The cost-effectiveness of testing and treatment for latent tuberculosis infection among foreign-born persons
         in the U.S. In: American Thoracic Society Meeting, San Fransisco, CA, US. p. Poster Presentation.
    100. Forbes S, Trikalinos TA, Dahabreh IJ (6/2016) Evidence synthesis using randomized and non-
         randomized studies of the effects of interventions: Recommendations for practice. In: Academy Health
         Annual Research Meeting, Boston, MA, US. p. Poster Presentation.
    101. Ellis AG, Trikalinos TA, Wong JB, Dahabreh IJ (5/2016) An overview of statistical methods for
         meta-analysis combining individual participant data and aggregate data. In: 21st Annual International


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          Meeting, International Society For Pharmacoeconomics and Outcomes Research – ISPOR, Washington
          DC, US. p. Poster Presentation.
    102. Forbes S, Trikalinos TA, Dahabreh IJ (10/2015) Evidence synthesis using randomized and non-
         randomized studies of the effects of interventions: Recommendations for practice. In: International
         Conference on Health Policy Statistics, Providence, RI, US. p. Poster Presentation.

    103. Silberholz JM, Bertsimas D, Trikalinos TA (11/2015) A robust optimization approach to designing
         cancer screening strategies. In: Institute for Operations Research and the Management Sciences,
         Philadelphia, PA, US. p. Oral Presentation.
    104. Dahabreh IJ, Trikalinos TA (5/2015) Concepts of similarity in evidence synthesis. In: Society for
         Research Synthesis Methods Annual Meeting, Nashville, TN, US. p. Oral Presentation.

    105. Dahabreh IJ, Wong JB, Balk EM, Trikalinos TA (5/2015) Guidance for the conduct and reporting of
         modeling and simulation in the context of health technology assessment. In: 20th Annual International
         Meeting, International Society For Pharmacoeconomics and Outcomes Research – ISPOR, Philadelphia,
         PA, US. p. Oral Presentation.

    106. Zgodic A, Trikalinos TA, Olkin I, Schmid CH, Lau J, Dahabreh IJ (8/2014) Implications of different
         evidence-summaries for contextualizing and interpreting findings of meta-analysis of diagnostic tests. In:
         Joint Statistical Meetings 2014, Boston, MA, US. p. Oral Presentation.
    107. Jansen JP, Trikalinos TA (10/2013) Mmultivariate network meta-analysis of progression-free survival
         and overall survival. In: 16th Annual European Meeting, International Society For Pharmacoeconomics
         and Outcomes Research – ISPOR. p. Oral Presentation.

    108. Halladay CW, Trikalinos TA, Schmid IC, Schmid CH, Dahabreh IJ (10/2013) Searching for studies
         beyond Pubmed: What is the benefit of searching multiple databases? In: 35th Annual Meeting of the
         Society for Medical Decision Making, Baltimore, MD, US. p. Poster Presentation.
    109. Ivers N, Trikalinos TA, Dahabreh IJ, Tricco A, Moher D, Ramsay T, Yu C, Straus S, Grimshaw
         J (2013) Does hierarchical meta-regression provide key insights for exploring the effectiveness of complex
         quality improvement interventions in diabetes? In: 21st Cochrane Colloquium, Quebec City, Quebec,
         Canada.
    110. Dahabreh IJ, Terasawa T, Moorthy D, Lamont JL, Chen ML, Trikalinos TA (2012) Repurposing
         randomized controlled trials of therapeutic interventions to identify molecular biomarkers for treatment
         choice: Case studies in oncology and cardiovascular disease. In: Agency for Healthcare Research and
         Quality Annual Conference, Washington, DC.
    111. Dahabreh IJ, Trikalinos TA, Joseph L, Schmid CH (2012) An empirical assessment of bivariate
         methods for meta-analysis of test performance. In: 20th Cochrane Colloquium, Auckland, New Zealand.
    112. Dahabreh IJ, Chung M, Kitsios GD, Raman G, Tatsioni A, Tobar A, Lau J, Trikalinos TA,
         Schmid CH (2012) Comprehensive overview of methods and reporting of meta-analyses of test accuracy.
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         of left ventricular election fraction and volumes? A meta-analysis. J Am Coll Cardiol 39: 394A.
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         asymptomatic children for cardiac disorders that cause sudden cardiac death. Med Decis Making 32:
         E98.
    128. Trikalinos TA, Ioannidis JP (10/2001) Semi-automated screening of biomedical citations for systematic
         reviews. 8th Cochrane Colloquium, Cape Town, South Africa : Poster Presentation C09.
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         12th Cochrane Colloquium, Ottawa, Ontario, Canada : Oral Presentation 60.
    130. Trikalinos TA, Ioannidis JP (10/2004) Genetic risk factors for complex diseases: race is not important.
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    131. Gilbody S, Trikalinos TA, R C, Wahbeck K, Ioannidis JP (10/2004) Comparison of large versus
         smaller randomized trials for mental health-related interventions. 12th Cochrane Colloquium, Ottawa,
         Ontario, Canada : Poster Presentation 150.
    132. Ioannidis JP, Trikalinos TA (10/2006) Appropriateness of asymmetry tests for publication bias in
         meta-analysis: A large scale survey. 14th Cochrane Colloquium, Dublin, Ireland : Oral Presentation 22.
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         exploratory test. 14th Cochrane Colloquium, Dublin, Ireland : Poster Presentation 149.
    134. Ioannidis JP, Trikalinos TA, Zintzaras E (10/2006) Extreme between-study homogeneity in meta-
         analysis. 14th Cochrane Colloquium, Dublin, Ireland : Poster Presentation 150.


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            BL, Lips P, Ljunggren O, Lorenc R, Obermayer-Pietsch B, Ohlsson C, Pettersson U, Reid DM,
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            G, Hofman A, Husted LB, Kruk M, Kaptoge S, Karasik D, Karlsson MK, Lorentzon M, Masi L,
            McGuigan FE, Mellström D, Mosekilde L, Nogues X, Pols HA, Reeve J, Renner W, Rivadeneira F,
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            fracture. In: J Bone Mineral Res. volume 22, p. S56.


              Research Grants & Contracts
              Organized first by Ongoing vs. Completed. All listed awards are competitive. I do not list peer-reviewed
              institutional (internal) seed funds. I do not list Grants and Contracts that were completed between 2006
              and 2012 (when I was at Tufts Medical Center), and before 2006 (when I was in Greece).
              Last updated on Thursday 8th October, 2020.


              Ongoing

     Type     Grant
     Grant    HS027247-01: Semi-automated identification of biomedical literature.
    Funder    Agency for Healthcare Research and Quality (AHRQ)
   Amount     $100,000
    Period    9/30/2019–9/29/2020
      Role    Principal Investigator

     Type     Grant
      Title   K12 HS022998: Develop Patient Centered Outcomes Scholars for Comparative Effectiveness Research
    Funder    Agency for Healthcare Research and Quality (AHRQ)
   Amount     $3.8 million
    Period    8/1/2014–8/31/2020
      Role    Principal Investigator

     Type     Grant
     Grant    R25HS023299-01: Innovative Training to Improve CER PCOR Systematic Review Production and Uptake
    Funder    Agency for Healthcare Research and Quality (AHRQ)
   Amount     $2.5 million
    Period    8/1/2014–8/31/2020
      Role    Co-Investigator (Principal Investigator CH Schmid)

      Type    Grant
Grant Title   R01LM012086-01A I Semi-Automating Data Extraction for Systematic Reviews
    Funder    National Library of Medicine (NLM)
   Amount     Subcontract $119,150 (Total $880,629)
    Period    1/1/2016- 12/31/2019
      Role    Subcontract Principal Investigator (Principal Investigator BC Wallace, Northeastern University)

      Type Grant
     Grant R03HS25840-01A1: Quantifying the Extent of Replicability in Systematic Reviews and Meta-analyses:
           Implications for Grading of the Strength of Evidence.



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       Funder     Agency for Healthcare Research and Quality (AHRQ)
      Amount      $61,474
       Period     3/1/2019–2/28/2020
         Role     Co-Investigator (Principal Investigator O Panagiotou)



The Evidence-based Practice Center (EPC) V Contract is an Indefinite Duration–Indefinite Quantity (IDIQ) Master
Contract. It includes several competitive research contracts. I list all contracts under the IDIQ master contact in a section
demarcated by ‘ ↓ EPC V section’ and ‘ ↑ EPC V section’. Listing is analogous for sections pertaining to EPC IV and EPC III.

↓ EPC V section


        Type      Indefinite Duration–Indefinite Quantity (IDIQ) Contract
         Title    HHSA290201500002: Evidence-Based Practice Centers (EPC) V
       Funder     Agency for Healthcare Research and Quality (AHRQ)
      Amount      Total $7 million
       Period     9/1/2015–8/31/2019
         Role     Principal Investigator

        Type      Task Order 11 ⊂ EPC V (PI TA Trikalinos)
         Title    Topic Refinement & Systematic Review: Interventions for Substance Use Disorders in Adolescents
       Funder     Agency for Healthcare Research and Quality (AHRQ)
      Amount      $625,000
       Period     4/30/2018–8/06/2019 (extension through 01/09/2019)
         Role     Co-Investigator (Principal Investigator DW Steele)

        Type      Task Order 12 ⊂ EPC V (PI TA Trikalinos)
         Title    SRDR 2.0 for Digitally Enabling Systematic Review Data
       Funder     Agency for Healthcare Research and Quality (AHRQ)
      Amount      $1.7 million
       Period     4/30/2018–12/11/2020
         Role     Co-Investigator (Principal Investigator I Saldanha)

        Type      Task Order 13 ⊂ EPC V (PI TA Trikalinos)
         Title    Management of Acute Diverticulitis
       Funder     Agency for Healthcare Research and Quality (AHRQ)
      Amount      $480,000
       Period     3/29/2019–6/19/2020
         Role     Co-Investigator (Principal Investigator EM Balk)

        Type      Task Order 14 ⊂ EPC V (PI TA Trikalinos)
         Title    Management of Primary Headaches in Pregnancy
       Funder     Agency for Healthcare Research and Quality (AHRQ)
      Amount      $380,000
       Period     4/26/2019–8/6/2020
         Role     Co-Investigator (Principal Investigator I Saldanha)




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       Type       Task Order 17 ⊂ EPC V (PI TA Trikalinos)
        Title     Management of Obstructive Sleep Apnea in the Medicare Population
      Funder      Agency for Healthcare Research and Quality (AHRQ)
     Amount       $500,000
      Period      9/10/2019–5/3/2021
        Role      Principal Investigator

         Type Task Order 1 ⊂ EPC V (PI TA Trikalinos)
         Title Methods and Dissemination: Collaboration to improve validity, consistency, and utility of systematic
               reviews
      Funder      Agency for Healthcare Research and Quality (AHRQ)
     Amount       $220,000
      Period      9/1/2015–8/31/2019
        Role      Principal Investigator

↑ EPC V section




                  Completed

       Type       Contract
        Title     5U38PS004644: Prevention Policy Modeling Lab Consortium
      Funder      Centers for Disease Control and Prevention (CDC)
     Amount       Subcontract $215,752 (Total $5,875,000)
      Period      9/30/2015- 9/29/2019
        Role      Subcontract Principal Investigator (Principal Investigator J Salomon, Harvard University)

         Type Grant
         Title U54GM115677: Computational Health Services Research to Identify Use of Low-Value Care in Rhode
               Island
       Funder Advance–Clinical & Translational Research (CTR)/National Institute of General Medical Sciences
              (NIMGS)
     Amount $81,250
      Period 5/1/2018–4/30/2019
        Role Co-Principal Investigator, with O Panagiotou

       Type       Grant
        Title     1P20GM125507: COBRE Center on Opioids and Overdose
      Funder      National Institutes of Health (NIH)
     Amount       $19,713 (Total: $2,555,339)
      Period      9/1/2018–1/30/2019
        Role      Co-Investigator (PI: J Rich)




↓ EPC V section




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   Type     Task Order 10 ⊂ EPC V (PI TA Trikalinos)
    Title   Nonsurgical Treatments for Urinary Incontinence in Adult Women
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $255,000
  Period    4/1/2017–6/30/2018
    Role    Co-Investigator (Principal Investigator EM Balk)

   Type     Task Order 9 ⊂ EPC V (PI TA Trikalinos)
    Title   Technology Assessment: Bariatric Surgery Interventions
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $200,000
  Period    4/1/2017–6/30/2018
    Role    Principal Investigator

   Type     Task Order 8 ⊂ EPC V (PI TA Trikalinos)
    Title   Topic Refinement & Systematic Review: Error reduction for Lower Limb Prostheses
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $480,000
  Period    6/20/2016 - 6/19/2018
    Role    Principal Investigator

   Type     Task Order 7 ⊂ EPC V (PI TA Trikalinos)
    Title   Topic Refinement & Systematic Review: Treatments for Non-Melanoma Skin Cancer
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $355,000
  Period    1/26/2016 - 8/1/2017
    Role    Principal Investigator

   Type     Task Order 6 ⊂ EPC V (PI TA Trikalinos)
    Title   Strategies for Improving the Lives of Women Age 40 and Above Living with HIV/AIDS
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $200,000
  Period    10/16/2015- 5/26/2016
    Role    Principal Investigator

   Type     Task Order 5 ⊂ EPC V (PI TA Trikalinos)
    Title   Methods Project: Transparency of Reporting (Ω-3 Fatty Acids Systematic Review)
  Funder    Agency for Healthcare Research and Quality (AHRQ)
  Period    8/19/2015- 12/23/2015
 Amount     $25,000
    Role    Co-Investigator (Principal Investigator SL Springs)

   Type     Task Order 4 ⊂ EPC V (PI TA Trikalinos)
    Title   Methods Project: Transparency of Reporting (Tympanostomy Tubes Systematic Review)
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $25,000
  Period    8/19/2015- 5/29/2016


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         Role Co-Investigator (Principal Investigator GP Adam)

        Type       Task Order 3 ⊂ EPC V (PI TA Trikalinos)
         Title     Treatment Strategies for Patients with Lower Extremity Peripheral Venous Disease
       Funder      Agency for Healthcare Research and Quality (AHRQ)
      Amount       $500,000
       Period      9/14/2015- 9/4/2016
         Role      Co-Investigator (Principal Investigator EM Balk)

         Type Task Order 2 ⊂ EPC V (PI TA Trikalinos)
         Title Topic Refinement & Systematic Review: Comparative Effectiveness and Safety of Tympanostomy Tubes
               in Otitis
       Funder      Agency for Healthcare Research and Quality (AHRQ)
      Amount       $380,000
       Period      2/25/2015- 7/5/2016
         Role      Principal Investigator

↑ EPC V section




         Type Contract
         Title Evidence review for a full update of the 2008 Clinical Practice Guideline for the Prevention, Diagnosis,
               Evaluation and Treatment of Hepatitis C in Chronic Kidney Disease
       Funder      Kidney Disease – Improving Global Outcomes (KDIGO)
      Amount       $299,816
       Period      9/1/2015- 7/10/2018
         Role      Co-Investigator (Principal Investigator EM Balk)

         Type Grant (site subcontract)
  Grant Title DBI-1262442 I Collaborative Research: ABI Development: Making Advanced Statistical Tools Accessible
              for Quantitative Research Synthesis and Discovery in Ecology and Evolutionary Biology
       Funder      National Science Foundation (NSF)
      Amount       $143,124
       Period      9/1/2014- 4/30/2016
         Role      Subcontract Principal Investigator (Principal Investigator BC Wallace)



↓ EPC IV section


        Type       Indefinite Duration–Indefinite Quantity (IDIQ) Contract
         Title     HHSA290201200012: Evidence-Based Practice Centers (EPC) IV
       Funder      Agency for Healthcare Research and Quality (AHRQ)
      Amount       $4.5 million
       Period      08/02/2012–07/31/2017
         Role      Principal Investigator



         Type Task Order 7 ⊂ EPC IV (PI TA Trikalinos)


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    Title   Effects of Omega-3 Fatty Acids on Cardiovascular Disease
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $500,000
  Period    9/1/2014- 8/31/2015
    Role    Co-Investigator (Principal Investigator EM Balk)

   Type     Task Order 6 ⊂ EPC IV (PI TA Trikalinos)
    Title   Updates and Systematic Reviews for the Effective Healthcare Program - Renal Artery Stenosis
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $250,000
  Period    5/29/2014- 3/29/2015
    Role    Co-Investigator (Principal Investigator EM Balk)

    Type Task Order 5 ⊂ EPC IV (PI TA Trikalinos)
 Contract Decision Support Tools for Treatment of Pre-malignancies or Early Stage Cancers in Adults
    Title
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $225,000
  Period    6/24/2013- 5/23/2014
    Role    Principal Investigator

   Type     Task Order 4 ⊂ EPC IV (PI TA Trikalinos)
    Title   HHSA 290 2012 00012 I Diagnosis of Acute Appendicitis
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $500,000
  Period    6/24/2013- 8/23/2014
    Role    Co-Investigator (Principal Investigator IJ Dahabreh)

   Type     Task Order 3 ⊂ EPC IV (PI TA Trikalinos)
    Title   Systematic Review Data Repository: Testing and Maintenance
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $1.8 million
  Period    2/1/2013- 1/31/2018
    Role    Co-Investigator (Principal Investigator EM Balk)

    Type Task Order 2 ⊂ EPC IV (PI TA Trikalinos)
 Contract Evidence Synthesis and Translation under MMA Section 1013: Area of Concentration 6
    Title
  Funder    Agency for Healthcare Research and Quality (AHRQ)
 Amount     $975,000
  Period    9/25/2012- 3/25/2014
    Role    Principal Investigator

    Type Task Order 1 ⊂ EPC IV (PI TA Trikalinos)
    Title Methods and Dissemination: Collaboration to improve validity, consistency, and utility of systematic
          reviews
  Funder Agency for Healthcare Research and Quality (AHRQ)


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      Amount $294,000
       Period 9/1/2012- 8/31/2017
         Role Principal Investigator

↑ EPC IV section




        Type       Contract
         Title     HHSN261201200390P: Knowledge Integration – Benefit-risk prediction for cancer treatment management
       Funder      National Cancer Institute (NCI)
      Amount       $150,000
       Period      9/17/2012- 9/16/2013
         Role      Principal Investigator

        Type       Contract
         Title     Integrating causal inference, evidence synthesis and research prioritization methods
       Funder      Patient Centered Outcomes Research Institute (PCORI)
      Amount       Subcontract $280,000 (Total $1.1 million)
       Period      2012–2015
         Role      Subcontract Principal Investigator (Principal Investigator JB Wong, Tufts Medical Center)

         Type Contract
         Title HHSN261201300395P: Treatment Management of Rare Cancers: Understanding and Evaluating Prediction
               Tools
       Funder      National Cancer Institute (NCI)
      Amount       $45,000
       Period      9/20/2013- 9/19/2014
         Role      Co-Investigator (Principal Investigator IJ Dahabreh)

        Type       Grant
         Title     Sociolinguistically Informed Natural Language Processing: Automating Irony Detection
       Funder      Army Research Office (ARO)
      Amount       $75,678
       Period      9/1/2013- 8/31/2015
         Role      Co-Investigator (Principal Investigator BC Wallace)

         Type Grant (Site subcontract)
        Grant MOP-1233345: Seeing the forests and the trees - Innovative approaches to exploring heterogeneity in
              systematic reviews of complex knowledge translation interventions to enhance policy decision making
       Funder Canadian Institutes of Health Research (CIHR)
      Amount $92,030
       Period 10/1/2012- 3/31/2015
         Role Subcontract Principal Investigator (Principal Investigator J Grimshaw, Ottawa Hospital Research Insti-
              tute)

         Type Grant
         Title R01 HS018494: Semi-automating citation screening for systematic reviews



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       Funder       Agency for Healthcare Research and Quality (AHRQ)
      Amount        $1.2 million
       Period       12/01/2009–11/30/2013
         Role       Principal Investigator

        Type        Grant
        Grant       R01 HS018574: Modernizing Meta-Analysis to Facilitate Comparative Effectiveness Reviews
       Funder       Agency for Healthcare Research and Quality (AHRQ)
      Amount        $1.2 million
       Period       12/01/2009–11/30/2013
         Role       Co-Investigator (Principal Investigator Christopher H. Schmid)




↓ EPC III section


        Type        Indefinite Duration–Indefinite Quantity (IDIQ) Contract
         Title      HHSA290200710055 I: Evidence-Based Practice Centers (EPC) III
       Funder       Agency for Healthcare Research and Quality (AHRQ)
      Amount        Total ∼ $15.3 million
       Period       09/01/2007–08/31/2012
         Role       Investigator & CoDirector (Principal Investigator & Director J Lau, Tufts Medical Center)

                    I do not list Task Orders under EPC III (Tufts Medical Center) where I was a co-investigator.

↑ EPC III section




                    Teaching
                    Regular Courses
    PHP2415 Introduction to Evidence-based Medicine, with J Lau: Spring 2013, Spring 2014; Spring 2015, Fall
            2015; with AG Ellis: Spring 2016; Spring 2017, 2018, & 2020.
    PHP2435 Intermediate Evidence-based Medicine & Meta-analysis, Fall 2013.
   PHP2455A Methods for Health Services and Comparative Effectiveness Research - A, Fall 2014.
   PHP2455B Methods for Health Services and Comparative Effectiveness Research - B, Spring 2015.
   PHP2465A Introduction to Health Decision Science, with R Iskandar: Fall 2017; with R Iskandar & SP Forbes:
            Fall 2018; Fall 2019.
                    Seminar or Independent Study Courses
    PHP2980 Graduate Independent Study and Thesis Research (SA5), Spring 2014; Spring 2015; Spring 2016
            (n = 3); Spring 2017 (n=2).
    PHP2950 PhD Student Journal Club & Faculty Forum, Fall 2013, student-run course, with minimal faculty
            oversight.
                    Guest Lectures in other Courses
  CSCI1951A Introduction to Data Science, 05/01/2014, 05/03/2016, ‘Data science applications in technology
            assessment and research synthesis’, Course Instructor: Tim Kraska. Department of Computer Science,
            Brown University.



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 PHP2180 Interpretation and Application of Epidemiology, 03/06/2013, ‘Meta-analysis in Epidemiology’,
         Course Instructor: David Savitz. Department of Epidemiology, Brown University.
PHP2690A Advanced Topics in Biostatistics, Spring 2013, ‘Connections to Research Synthesis, Decision Analysis,
         Value of Information Analysis’, Course Instructor: Christopher Schmid. Department of Biostatistics,
         Brown University.
            Short Courses & Electronic Teaching Modules
            No overlap with items in the Invited Talks section
      2017 Introduction to Network Meta-analysis, Half day course together with Christopher H. Schmid and
           Valerie Langberg (of Brown University) at the Joint Statistical Meetings (Aug 2017).
      2016 Introduction to Network Meta-analysis, Half day course together with Christopher H. Schmid and
           Valerie Langberg (of Brown University) at the Joint Statistical Meetings (Aug 2016).
      2015 Introduction to Evidence-based Medicine, Two-day course together with Christopher H. Schmid
           (of Brown University) at the CDC (17-18 Aug 2015).
      2014 Introduction to Evidence-based Medicine, Two-day course together with Joseph Lau and Christo-
           pher H. Schmid (both of Brown University) at the Brown University Warren Alpert Medical School.
      2013 Advanced meta-analysis, Full-day course together with Issa J. Dahabreh (Brown University) at the
           Society for Medical Decision Making annual meeting.
2008–2011 Introduction to meta-analysis, Full-day course together with Ingram Olkin (Stanford University) at
          the Society for Medical Decision Making annual meetings.
2007–2010 Introduction to meta-analysis, Summer course of the Clinical and Translational Science Program,
          Sackler School, Tufts University.
2009–2011 Methods for quantitative synthesis and primer in advanced meta-analysis, Annual Short
          Course in Comparative Effectiveness Research, Tufts CTSI.
      2011 Assessing Pharmacogenetic Information in Clinical Trials, Comparative Effectiveness Research
           (CER) Survey Course, Tufts CTSI.
      2010 Online training module: ‘Systematic Review: Data extraction’, with J Lau, M McPheeters,
           and J Seroogy. Part of a selection of 12 recorded training lectures for training researchers who perform
           systematic reviews..
      2010 Online training module: ‘Systematic Review: Presentation of Findings’, with J Lau, and M
           McPheeters. Part of a selection of 12 recorded training lectures for training researchers who perform
           systematic reviews..
      2010 Online training module: ‘Systematic Review: Quantitative Synthesis I’, with J Lau. Part of
           a selection of 12 recorded training lectures for training researchers who perform systematic reviews..
      2010 Online training module: ‘Systematic Review: Quantitative Synthesis II’, with J Lau. Part of
           a selection of 12 recorded training lectures for training researchers who perform systematic reviews..
      2007 Introduction to non-parametric and parametric meta-analysis and hands-on workshop, 3rd
           course in Statistical Genetic Analysis of Complex Phenotypes, Bertinoro di Romagna, Italy.



            Mentoring
            Students & Fellows Mentored, Honors, Masters & PhD theses
            I have been on the advisory committee of the following fellows and students:
 Current
   Brown Doctoral students
University
            –Shaun P. Forbes, PhD Candidate in Health Services Research (Thesis advisor)
            –Mauricio Lopez-Mendez, PhD Student in Health Services Research (co-Advisor, with R Iskandar)

     Past I have coauthored papers with Wallace, Small, Yu, Kitsios, Dahabreh, Tobar, Gabbay, Kelly, Ellis


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     Brown Doctoral students
  University
              –Wei Cheng, PhD in Biostatistics 2016 (Thesis committee member)
              –Alexandra G. Ellis, MS, PhD in Health Services Research 2017 (Thesis advisor)

              MS students
              –Bo Wang, MS in Biostatistics 2017 (Thesis reader, joint supervision with CH Schmid)
              –Yuanfei Chen, MS in Biostatistics 2016 (Thesis reader, joint supervision with CH Schmid)
              –Lisa Wang, MS in Biostatistics 2014 (Thesis reader, joint supervision with CH Schmid)
              –Lauren Catalano, MD, Masters in Clinical and Translational Research Student (Thesis advisor)
              –Alissa Trepman, MS, MPH Student (Thesis reader)

              Undergraduate students
              –Madeline Pesec, BS 2016 (Thesis reader)

       Tufts Doctoral students
  University
              –Byron C. Wallace, PhD (Committee member)
              –Winifred W. Yu, PhD (Committee member)

Tufts Medical Masters students
      Center
              –Kevin M. Small, PhD (for his CTS certificate)
              –Georgios Kitsios, MD, MS
              –Issa J. Dahabreh, MD, MS, (since, DSc)
              –Annette Tobar, MD, MS
              –Ezra Gabbay, MD, MS
              –Christina Baik, MD, MS
              –Laura Caprario, MD, MS
              –Michael Kelly, MD, MPH, for his MS in CTS (Thesis committee member)


    Other I have mentored many students, fellows, or junior faculty in evidence-based medicine. I list the ones I
   Mentees have co-authored with:
              –Alawi AlSheikh-Ali, MD, MS
              –Daniel Kramer, MD
              –Benjamin Wessler, MD
              –Peter J. Castaldi, MD, MS
              –Martin Wagner, MD
              –Jose Calvo, MD
              –Teruhiko Terasawa, MD, PhD
              –Makiko Yoshida, PhD
              –Denish Moorthy, MBBS
              –Kamal Patel, MBA
              –Jounghee Lee, PhD
              –Haseeb Jafri, MD
              –Angie May Rodday, MPH



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           –Yannis Koulouridis, MD

           Mentor on career development awards (e.g., K grants)
     K12 Institutional AHRQ-funded K12 in CER/PCOR at Brown University, Program Director TA Trikalinos
2013–2015 Agustin Yip, MD, PhD
          Lauren Catalano, MD
          Ijeoma Azodo, MD
2014–2016 Andrew Zullo, PharmD, PhD
          Francesca Beaudoin, MD, PhD
2016–2018 Yanick Brice, PhD
          Nishant Shah, MD, MS
2016–2019 Stacey Springs, PhD
    2017– Nina Joyce, PhD
    2018– Jonah Popp, PhD

     K01   2016–: Valery Danilack, PhD, at Women and Infants Hospital. Primary Mentor.
     K23   2016–: Ravi Bannuru, MD, PhD, at Tufts Medical Center. Mentor.
     K23   2015–: David Barker, PhD, at Rhode Island Hospital. Mentor.
CoHSTAR    2015-2018: Daniel Pinto PT, PhD, at Northwestern University. Primary Mentor.




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